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                                               —Government's Proposed Exhibit List—
                                          U.S. v. Paul J. Manafort, Jr. (1:17-cr-201-1 (ABJ))
Ex. No.              Date                            Description                         Obj.                       Objection Basis


1                           [Exhibit Removed]
2                           [Exhibit Removed]
3                           [Exhibit Removed]
4                           [Exhibit Removed]
5         2/24/2018         Call Detail Report                                            Y     Relevance - FRE 402/403
6         2/24/2018 ‐       Call Detail Report                                                  Relevance - FRE 402/403
                                                                                          Y
          3/1/2018
7         2/25/2018         Call Detail Report                                            Y     Relevance - FRE 402/403
8         2/27/2018         Call Detail Report                                            Y     Relevance - FRE 402/403
9         2010‐2017         2010.01.01 ‐ 2017.07.25 P. Manafort AT&T                            Relevance - FRE 402/403
                                                                                          Y
                            Phone Records
10                          [Exhibit Removed]
11        2001‐2018         FinCEN Certifications                                         Y     Relevance - FRE 402/403
12        6/1/2008 ‐        First Republic Bank Accounts XXXXXXX6573 and
                                                                                          N
          6/30/2008         XXXXXXX7373 for Jesand
13                          First Republic Bank/Pershing Account
                                                                                          N
                            XXXXXXX5358 for J. Manafort
14        2/1/2012 ‐        First Republic Bank Account XXXXXXX9730
                                                                                          N
          2/29/2012         for P. and K. Manafort
15        2/10/2012 ‐       First Republic Bank Account XXXXXXX5868
                                                                                          N
          2/29/2012         for MC Soho
16        10/4/2013         Pompolo Limited Incorporation Documents;
                                                                                          N
                            United Kingdom
17        2013              Bank Records; Pompolo Limited; United Kingdom                 N
18        9/9/2009          Email; Subject: RE: LOAV                                      N
19        8/21/2011         Email; Subject: 2010 Taxes                                    N
20        9/9/2011          Peranova Loan Agreement                                       N
21        10/4/2011         Email; Subject: FW: 2010 tax filing                           N
22        2011              2011 Davis Manafort Partners General
                                                                                          N
                            Ledger
23        2011              2011 Davis Manafort Partners Financial
                                                                                          N
                            Statements
24        2011              2011 P. Manafort and K. Manafort General
                                                                                          N
                            Ledger
25        2011              2011 DMP International General Ledger                         N
26        2011              2011 DMP International Financial                                    Relevance - FRE 402/403
                                                                                          Y
                            Statements
27        2011              2011 Davis Manafort Partners Ledger Report                    N
28        6/29/2012         Email; Subject: Re: Foreign Accounts                          N
29        9/6/2012          Email; Subject: Re: DMP International, LLC                          Hearsay - FRE 805
                                                                                          Y
                            tax return‐ DUE 9/17/12
30        9/16/2012         Email; Subject: FW: FINAL FINAL Questions                     Y     Relevance - FRE 402/403
31        10/14/2012        Form; P. Manafort Signed IRS Form 8879                        N
32        12/31/2012        MAN001‐07 DMP International                                   N
33        2012              2012 DMP International General Ledger                         N
34        2012              2012 DMP International Financial                                    Relevance - FRE 402/403
                                                                                          Y
                            Statements
35        2012              2012 P. Manafort and K. Manafort General
                                                                                          N
                            Ledger
36        2/5/2013          Shipment from Kositzka, Wicks and
                                                                                          N
                            Company to P. Manafort
37        6/24/2013         Email; Subject: Re: Foreign account report                          Hearsay - FRE 805
                                                                                          Y
                            due 6/30/13
38        8/29/2013         Email; Subject: Paul unidentified transaction                       Relevance - FRE 402/403; Hearsay - FRE 805
                                                                                          Y
39        9/3/2013          Ledger Report; DMP International Ledger Reports – Peranova
                                                                                          N
                            Entries
40        9/11/2013         Email; Subject: Re: DMP International                         Y     Hearsay - FRE 805
41        2013              2013 DMP International General Ledger                         N
42        2013              2013 DMP International Financial                                    Relevance - FRE 402/403
                                                                                          Y
                            Statements
43        2013              2013 P. Manafort and K. Manafort Financial                          Relevance - FRE 402/403
                                                                                          Y
                            Statements
44        8/26/2014         Email; Subject: RE: Paul's pending matters                    Y     Hearsay - FRE 805
45        9/2/2014          Email; Subject: Re: Union Street                              Y     Hearsay - FRE 805
46        9/4/2014          Email; Subject: Re: Paul's tax returns ‐ more                       Hearsay - FRE 805
                                                                                          Y
                            questions
47        12/17/2014        Email; Subject: Call with Gates ‐ for the 2014                      Hearsay - FRE 805
                                                                                          Y
                            file
48        2014              2014 DMP International General Ledger                         N
49        2014              2014 DMP International Financial                                    Relevance - FRE 402/403
                                                                                          Y
                            Statements




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Ex. No.              Date                              Description                           Obj.                       Objection Basis


50        2014              2014 P. Manafort and K. Manafort Financial                              Relevance - FRE 402/403
                                                                                              Y
                            Statements
51        2014              Form; DMP International 2014 1099‐MISC
                                                                                              N
                            Form
52        2014              TB‐01 ‐ Adjusted Trial Balance (2014); DMP
                                                                                              N
                            International
53        1/8/2015          Email; Subject: Re: Trump ‐ UBS Mortgage                          N
54        3/19/2015         Email; Subject: Re: NYC Property LLCs                                   Relevance - FRE 402/403; Hearsay - FRE 805
                                                                                              Y
55                          [Exhibit Removed]
56        4/13/2015         Email; Subject: RE: DMP International                                   Relevance - FRE 402/403; Hearsay - FRE 805
                                                                                              Y
57        8/26/2015         Email; Subject: Re: Pending Items                                 Y     Hearsay - FRE 805
58        9/11/2015         Email; Subject: Re: DMP Sports Tickets                                  Relevance - FRE 402/403; Hearsay - FRE 805
                                                                                              Y
59        9/15/2015         Email; Subject: Re: Call Me                                       Y     Hearsay - FRE 805
60        9/15/2015         Report; DMP International Ledger Report –
                                                                                              N
                            Telmar Investments
61        10/7/2015         Email; Subject: Re: Paul's 1040                                   Y     Hearsay - FRE 805
62        2015              2015 DMP International General Ledger                             N
63        2015              2015 DMP International Financial
                                                                                              N
                            Statements
64        2015              2015 P. Manafort and K. Manafort Financial                              Relevance - FRE 402/403
                                                                                              Y
                            Statements
65        2015              TB‐01 ‐ Adjusted Trial Balance (2015); DMP
                                                                                              N
                            International
66        3/16/2016         Email; Subject: FW: DMP International ‐                                 Hearsay - FRE 805
                                                                                              Y
                            Open Items
67        3/25/2016         DMP International Ledger Report re
                                                                                              N
                            Peranova
68        4/5/2016          Email; Subject: Re: DMP International                                   Hearsay - FRE 805
                                                                                              Y
                            Questions
69        4/12/2016         Email; Subject: Re: Pending Questions                             Y     Hearsay - FRE 805
70        4/15/2016         Email; Subject: Fwd: Pending Questions                                  Relevance - FRE 402/403; Hearsay - FRE 805
                                                                                              Y
71        9/4/2016          Email; Subject: RE: Paul's tax returns ‐ more                           Hearsay - FRE 805
                                                                                              Y
                            questions
72        9/14/2016         Email; Subject: Re: Updates ‐DMP                                  Y     Hearsay - FRE 805
73        10/3/2016         Email; Subject: Re: Paul Manafort's pending
                                                                                              N
                            matters
74        10/4/2016         Email; Subject: FW: Paul Manafort's pending
                                                                                              N
                            matters
75        2016              2016 DMP International General Ledger                             N
76        2016              2016 DMP International YTD P&L                                    Y     Relevance - FRE 402/403
77        2016              2016 DMP International YTD Financial                                    Relevance - FRE 402/403
                                                                                              Y
                            Statement
78        2016              2016 DMP International Financial Statement                        Y     Relevance - FRE 402/403
79        2016              2016 P. Manafort and K. Manafort Financial                              Relevance - FRE 402/403
                                                                                              Y
                            Statements
80        2001‐2011         Invoices; Selected KWC Invoices Manafort‐
                                                                                              N
                            Related Entities
81        2007‐2015         Chart; KWC Manafort Tax Returns Chart                             N
82        2012‐2016         KWC Engagement Letters (2012‐2016)                                N
83        2013‐2014         DMP International Funds Due to Peranova                           N
84        6/8/2017          Report; Adjusting Journal Entries Report for the Period Ending
                                                                                              N
                            12/31/2014
85        8/21/2012         Check; A. Manafort to McEnearney                                  N
86        8/21/2012         Sales Contract; 1046 N. Edgewood St,
                                                                                              N
                            Arlington, VA
87        8/31/2012         Receipt; A. Manafort Landtech Receipt                             N
88        9/1/2012          Email; Subject: Fwd: 1046 N. Edgewood St                          N
89        9/10/2012         Settlement Statement                                              N
90        9/10/2012         Chart; Purchase of 1046 N. Edgewood St,                                 Not a proper summary under FRE 1006; Relevance - FRE
                                                                                              Y
                            Arlington, VA                                                           402/403
91                          Cyprus Incorporation Documents                                    N
92                          Eurobank Documents                                                N
93                          Hellenic Bank Documents                                           N
94                          Bank of Cyprus Documents                                          N
95                          Bank of Cyprus Documents                                          N
96                          Accounting Records                                                N
97                          Hellenic Bank Documents                                           N
98                          Certificate of Authenticity; Cyprus
                                                                                              N
                            Incorporation Documents (91)
99                          Certificate of Authenticity; Eurobank
                                                                                              N
                            Documents (92)



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Ex. No.             Date                                  Description                    Obj.                       Objection Basis


100                            Certificate of Authenticity; Hellenic Bank
                                                                                          N
                               Documents (93)
101                            Certificate of Authenticity; Bank of Cyprus
                                                                                          N
                               (94)
102                            Certificate of Authenticity; Bank of Cyprus
                                                                                          N
                               (95)
103                            Certificate of Authenticity; Accounting
                                                                                          N
                               Records (96)
104                            Certificate of Authenticity; Hellenic Bank
                                                                                          N
                               (97)
105                            St. Vincent and the Grenadines Documents                   N
106                            St. Vincent and the Grenadines Documents                   N
107                            St. Vincent and the Grenadines Documents                   N
108                            Certificate of Authenticity; St. Vincent and
                                                                                          N
                               the Grenadines Documents (105)
109                            Certificate of Authenticity; St. Vincent and
                                                                                          N
                               the Grenadines Documents (106)
110                            Certificate of Authenticity; St. Vincent and
                                                                                          N
                               the Grenadines Documents (107)
111                            [Exhibit Removed]
112                            [Exhibit Removed]
113                            [Exhibit Removed]
114                            [Exhibit Removed]
115                            [Exhibit Removed]
116                            [Exhibit Removed]
117                            [Exhibit Removed]
118                            [Exhibit Removed]
119                            [Exhibit Removed]
120                            [Exhibit Removed]
121       9/14/2014            Email; Subject: RE: MC Soho Holdings                       N
122       2/24/2015            Email; Subject: RE: DMP International                      N
123       8/26/2015            Email; Subject: RE: DMP International LLC                  N
124       8/31/2015            Email; Subject: FW: Income                                 Y     Hearsay - FRE 805
125                            [Exhibit Removed]
126       9/13/2016            Email; Subject: RE: Manafort related entities                    Hearsay - FRE 805
                                                                                          Y
                               due by 9/15
127                            [Exhibit Removed]
128       12/1/2012 ‐          Bank Records; TD Bank Trust Account
                                                                                          N
          12/31/2012           XXXXXX5374 for B. Baldinger
129                            [Exhibit Removed]
130                            Documents; Non‐Vendor Payments Allowed                     N
131       1/24/2012            Email; Subject: Transfers                                  N
132       3/3/2011             P&L Statement; Davis Manafort Partners,                          Relevance - FRE 402/403
                                                                                          Y
                               Inc.
133       4/15/2011            P&L Statement; Davis Manafort Partners,                          Relevance - FRE 402/403
                                                                                          Y
                               Inc.
134                            FRB Account 6524 for DMP Intl                              N
135       3/22/2011            Big Picture Solutions Bank records (2011‐
                                                                                          N
                               2013)
136                            Big Picture Solutions Bank records (2013‐
                                                                                          N
                               2014)
137                            Mercedes‐Benz of Alexandria Bank
                                                                                          N
                               Statement and Wire
138                            KWC Tax Organizers for P. Manafort                         N
139                            P. Manafort American Express Records                       N
140                            Bank Records; Wachovia Account -6368                       N
141              2005, 2007,   Davis Manafort Partners Trial Balance                            Relevance - FRE 402/403
                                                                                          Y
                    2008
200       2008                 P. Manafort 2008 Passport                                  N
201       2016                 P. Manafort 2016 Passport                                  N
202                            [Exhibit Removed]
203       2009                 R. Gates 2009 Passport                                     N
204       2011                 R. Gates 2011 Passport                                     N
205       2013                 R. Gates 2013 Passport                                     N
206       2010                 1040 Paul J. Manafort 2010 (certified)                     N
207       2011                 1040 Paul J. Manafort 2011 (certified)                     N
208       2012                 1040 Paul J. Manafort 2012 (certified)                     N
209       2013                 1040 Paul J. Manafort 2013 (certified)                     N
210       2014                 1040 Paul J. Manafort 2014 (certified)                     N
211       2011                 1065 DMP International 2011 (certified)                    N
212       2012                 1065 DMP International 2012 (certified)                    N
213       2013                 1065 DMP International 2013 (certified)                    N
214       2014                 1065 DMP International 2014 (certified)                    N
215       2012‐2014            1065 MC Brooklyn 2012‐2014 (lack of
                                                                                          N
                               records)



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Ex. No.           Date                              Description                            Obj.                      Objection Basis


216       2012‐2014      1065 MC Soho 2012‐2014 (lack of records)                           N
217       2015           1065 MC Soho 2015 (certified)                                      N
218       2016           1065 MC Soho 2016 (certified)                                      N
219       2010           1120S Davis Manafort Partners 2010
                                                                                            N
                         (certified)
220       2011           1120S Davis Manafort Partners 2011
                                                                                            N
                         (certified)
221       2012‐2014      1120S Davis Manafort Partners 2012‐2014
                                                                                            N
                         (lack of records)
222       2010           1120S John Hannah 2010 (certified)                                 N
223       2011           1120S John Hannah 2011 (certified)                                 N
224       2012           1120S John Hannah 2012 (certified)                                 N
225       2013           1120S John Hannah 2013 (certified)                                 N
226       2014           1120S John Hannah 2014 (certified)                                 N
227       2005‐2007      1040; Paul J. Manafort Tax Transcript                              N
300       3/21/2011      Email; Subject: update                                             N
301       8/27/2013      Email; Subject: Statement 7‐23‐13                                  N
302       3/24/2014      Email; Subject: Wire transfers                                     N
303       2010‐2014      Invoices; Alan Couture (2010‐2014)                                 N
304                      Vendor Chart; Alan Couture                                         Y     Cumulative - FRE 403
305                      Bank Records; Alan Couture                                         N
306       2010           Invoices; Alan Couture (2010)                                      N
307       2011‐2014      Invoices; Big Picture Solutions (2011‐2014)                        N
308                      Vendor Chart – Big Picture Solutions                               Y     Cumulative - FRE 403
309       10/26/2012     Email; Subject: Manafort Project, Edgewood St, Arlington, VA
                                                                                            N
310       11/19/2012     Email; Subject: Re: Contract                                       N
311       11/30/2012 ‐   Bank Records; Federal Stone and Brick
                                                                                            N
          2/28/2013
312       5/29/2013      Email; Subject: Re: Invoice from Federal
                                                                                            N
                         Stone and Brick
313                      Draft of Pergola                                                   Y     Relevance - FRE 402/403
314                      Photograph; Pergola                                                Y     Relevance - FRE 402/403
315                      Photograph; Backyard                                               Y     Relevance - FRE 402/403
316       2010‐2012      Invoices; House of Bijan (2010‐2012)                               N
317       2010‐2012      Bank Records; House of Bijan                                       N
318                      Vendor Chart; House of Bijan                                             Not a proper summary under FRE 1006; Relevance - FRE
                                                                                            Y
                                                                                                  402/403
319                      Vendor Chart; Mercedes Benz of Alexandria                                Not a proper summary under FRE 1006; Relevance - FRE
                                                                                            Y
                                                                                                  402/403
320                      Photographs; Mercedes Benz owned by P. Manafort                          Relevance - FRE 402/403
                                                                                            Y
321       10/1/2012      Invoice; K. Manafort Purchase of Mercedes
                                                                                            N
                         Benz SL550
322       10/1/2012      Buyers Order; K. Manafort Purchase of
                                                                                            N
                         Mercedes Benz SL550
323       10/1/2012      K. Manafort Promissory Note for Mercedes
                                                                                            N
                         Benz SL550
324       10/5/2012      Wire; $62,750 Wire Transfer from Lucicle Consultants Limited to
                         Mercedes Benz of                                                   N
                         Alexandria
325                      Vendor Chart – New Leaf Landscape                                        Not a proper summary under FRE 1006; Relevance - FRE
                                                                                            Y
                                                                                                  402/403
326       2010‐2014      Invoices; New Leaf Landscape (2010‐2014)                           N
327       2011‐2013      Bank Records; New Leaf Landscape                                   N
328       6/21/2012      Proposal                                                           Y     Relevance - FRE 402/403
329                      Photograph; Bridgehampton Driveway                                 Y     Relevance - FRE 402/403
330                      Photograph; Bridgehampton Pond                                     Y     Relevance - FRE 402/403
331                      Photograph; Bridgehampton Side of House                            Y     Relevance - FRE 402/403
332                      Photograph; Bridgehampton Pergola                                  Y     Relevance - FRE 402/403
333                      Photograph; Bridgehampton Pool House                               Y     Relevance - FRE 402/403
334                      Photograph; Bridgehampton Putting Green                            Y     Relevance - FRE 402/403
335                      Vendor Chart – SP&C                                                      Not a proper summary under FRE 1006; Relevance - FRE
                                                                                            Y
                                                                                                  402/403
336                      Bank Records; SP&C Home Improvement                                N
337       2010‐2014      Invoices; SP&C Home Improvement (2010‐
                                                                                            N
                         2014)
338                      Photograph; Backyard                                               Y     Relevance - FRE 402/403
339                      Photograph; Basement                                               Y     Relevance - FRE 402/403
340                      Photograph; Front of House                                         Y     Relevance - FRE 402/403
341                      Photograph; Kitchen                                                Y     Relevance - FRE 402/403
342                      Photograph; Side of House (1)                                      Y     Relevance - FRE 402/403
343                      Photograph; Side of House (2)                                      Y     Relevance - FRE 402/403
344                      Photograph; Waterfall Pond                                         Y     Relevance - FRE 402/403
345                      Photograph; Palm Beach Gardens House                               Y     Relevance - FRE 402/403



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Ex. No.          Date                             Description                               Obj.                      Objection Basis


346                     Photograph; Outdoor Kitchen                                          Y     Relevance - FRE 402/403
347                     Email; Subject: Re: Wire                                             N
400       2010          Chart; FBAR Chart for 2010                                           N
401       2011          Chart; FBAR Chart for 2011                                           N
402       2012          Chart; FBAR Chart for 2012                                           N
403       2013          Chart; FBAR Chart for 2013                                           N
404       2014          Chart; FBAR Chart for 2014                                           N
405                     Chart; P. Manafort Foreign Entities                                  N
406                     Chart; P. Manafort Foreign Bank Accounts                             N
407                     Chart; Aegis Holdings Payments                                             Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
408                     Chart; Alan Couture Payments                                         N
409                     Chart; Big Picture Solutions Payments                                N
410                     Chart; Federal Stone & Brick Payments                                      Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
411                     Chart; House of Bijan Payments                                             Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
412                     Chart; J&J Oriental Rug Gallery Payments                                   Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
413                     Chart; Land Rover of Alexandria Motors                                     Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                        Payments                                                                   402/403
414                     Chart; Mercedes Benz of Alexandria                                         Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                        Payments                                                                   402/403
415                     Chart; New Leaf Landscape Payments                                   N
416                     Chart; Sabatello Construction Payments                                     Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
417                     Chart; Scott Wilson Landscaping Payments                             N
418                     Chart; Sensoryphile Payments                                         N
419                     Chart; SP&C Home Improvement Payments                                N
420                     Chart; Property Overview                                                   Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
421                     Chart; Payment Flow Chart for 29 Howard St                                 Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                        Property                                                                   402/403
422                     Chart; Payment Flow Chart for 1046 N                                       Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                        Edgewood St Property                                                       402/403
423                     Chart; Payment Flow Chart for 377 Union St                                 Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                        Property                                                                   402/403
424                     Chart; Vendor and Property Payments From
                                                                                             N
                        Foreign Bank Accounts
425                     Chart; Deposit Analysis – Foreign Source of Funds Received by
                                                                                             N
                        Foreign Accounts
426                     Chart; P. Manafort Summary of Tax Returns                            N
427                     Summary of Foreign Wires to 3rd Party Vendors for the Benefit of
                                                                                             N
                        Paul Manafort
428                     Chart; P. Manafort Reported Personal
                                                                                             N
                        Income
429                     Chart; Analysis of Foreign Bank Accounts                             N
430                     Chart; Selected Transactions                                               Not a proper summary under FRE 1006; Relevance - FRE
                                                                                             Y
                                                                                                   402/403
431                     Chart; Comparison of Receipts Reported on Foreign Agents                   Not a proper summary under FRE 1006
                        Registration Act Filing
          2012                                                                               Y
                        to Receipts Reported in DMP International LLC Financial Records

432                     Chart; Comparison of Receipts Reported on Foreign Agents                   Not a proper summary under FRE 1006
                        Registration Act Filing
          2013          to Receipts Reported in DMP International LLC and Smythson           Y
                        LLC Financial
                        Records
433                     Chart; Comparison of Receipts Reported on Foreign Agents                   Not a proper summary under FRE 1006
                        Registration Act Filing
          2014                                                                               Y
                        to Receipts Reported in DMP International LLC Financial Records

434                     Chart; Money Laundering Transfers                                          Not a proper summary under FRE 1006
                                                                                             Y
435                     Chart; 2014 Summary of Unreported Income of DMP International
                        LLC from                                                             N
                        Reclassification of Telmar Loan
436                     Chart; Summary of FARA Payments By Consultant                              Not a proper summary under FRE 1006
                                                                                             Y
437                     Chart; Payments from Foreign Entities to Entities Performing Work          Not a proper summary under FRE 1006
                        in the                                                               Y
                        United States
438                     Chart; False and Misleading Foreign Agents Registration Act                Not a proper summary under FRE 1006
                        Statements in                                                        Y
                        Counts 4 and 5



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Ex. No.              Date                               Description                              Obj.                     Objection Basis


439                         Chart; European Centre for a Modern Ukraine                                 Not a proper summary under FRE 1006
                                                                                                  Y
440                         Chart; Foreign Agents Registration Act History                              Not a proper summary under FRE 1006
                                                                                                  Y
441                         Chart; Government Relations Activity & Government Relations                 Not a proper summary under FRE 1006
                            Activity: Paul                                                        Y
                            Manafort
442                         Chart; Public Relations Activity                                            Not a proper summary under FRE 1006
                                                                                                  Y
443                         Chart; Outreach to Congressman Rohrabacher                                  Not a proper summary under FRE 1006
                                                                                                  Y
444                         Chart; Skadden Report                                                       Not a proper summary under FRE 1006
                                                                                                  Y
445                         Chart; Skadden Report: New York Times Outreach                              Not a proper summary under FRE 1006
                                                                                                  Y
446                         Chart; Visits to the United States                                          Not a proper summary under FRE 1006
                                                                                                  Y
447                         Chart; Party of Regions                                                     Not a proper summary under FRE 1006
                                                                                                  Y
448                         Chart; Legislation                                                          Not a proper summary under FRE 1006
                                                                                                  Y
449                         Chart; Legislation: Durbin Resolution                                       Not a proper summary under FRE 1006
                                                                                                  Y
500       6/2/2005          Memo; Re: Major Development in US                                           Relevance - FRE 402/403
                                                                                                  Y
                            Government Position on Ukraine Re‐ privatization
501       7/6/2005          Memo; Subject: Evolution of US Policy to                                    Relevance - FRE 402/403
                                                                                                  Y
                            Ukraine
502       5/24/2012         Press Release; Subject: Ministry of Justice Commissions
                            Independent Review of the Yulia Tymoshenko Prosecution by
                                                                                                  N
                            International Experts

503       6/25/2012         Memo; Subject: Going on Offense ‐ Ukraine Action Plan for
                                                                                                  N
                            Europe and US
504       6/27/2012         Memo; Filename: UKR SUPER VIP GROUP MEMO                              N
505       7/3/2012          Memo; Subject: Program to Conduct Briefings of Embassies,
                                                                                                  N
                            Media and NGOS
506       7/10/2012         Memo; Ohkendovsky ‐ US Visit                                          N
507       7/15/2012         Document; Subject: Projects and Activities approved at the meeting
                            between Klyuyev, Geller and Kaluzhny on July 12                       N

508       8/5/2012          Memo; Subject: State of PoR Campaign As Official Campaign
                                                                                                  N
                            Begins
509       8/20/2012         Memo; SUBJECT: OSCE‐ODIHR Priorities & Recommended
                                                                                                  N
                            Actions to Deal with These Priorities
510       8/26/2012         Memo; Re: Meeting with Erol Olcoc                                     N
511       9/1/2012          Skadden Report                                                        N
512       9/27/2012         Memo; US EMBASSY PLAN                                                       Relevance - FRE 402/403; undated; author unknown
                                                                                                  Y
513                         [Exhibit Removed]
514       10/1/2012         Memo; Subject: EI Program                                             Y     Hearsay - FRE 805
515       10/2/2012         Memo; Jonathan Hawker                                                       Relevance - FRE 402/403; author unknown
                                                                                                  Y
516       10/8/2012         Memo; Subject: State of Campaign ‐ 3 Weeks to Election Day
                                                                                                  N
517       10/9/2012         Memo; Subject: Observer Group Strategy Team                           N
518       10/9/2012         Memo; Subject: Translatoin expenses                                   N
519       10/15/2012        Memo; Subject: AP Q & A                                               N
520       6/18/2005         Memo; Basel Presentation                                                    Relevance - FRE 402/403; undated; author unknown;
                                                                                                  Y
                                                                                                        authenticity
521       6/23/2005         Memo; Subject: Political, Lobbying and Legal Program for CIS                Relevance - FRE 402/403; undated; author unknown;
                                                                                                  Y
                                                                                                        authenticity
522       6/25/2005         Memo; OVD memo                                                              Relevance - FRE 402/403; undated; author unknown;
                                                                                                  Y
                                                                                                        authenticity
523       8/10/2005         Memo; Subject: BVK Situation, DM Strategy                                   Relevance - FRE 402/403; author unknown
                                                                                                  Y
524       1/3/2006          Memo; Subject: Messages for January Next
                                                                                                  N
                            Wave of Television and Radio Ads
525       4/27/2006         Memo; Subject: Update ‐ Overview by Country                           N
526       9/24/2008         Memo; SUBJECT: Coalition Crisis Talking Points                        N
527       3/24/2009         Letter from Manafort to VFY                                           N
528       4/20/2009         Memo: Subject: Cyprus                                                 N
529       4/20/2009         Memo: Subject: Cyprus                                                 N
530       1/31/2010         Memo; Subject: Final Week ‐ Strategy,
                                                                                                  N
                            Tactics and Messages
531       2/16/2010         Memo; Subject: Professional Team – Bonuses                            N



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Ex. No.              Date                              Description                             Obj.                        Objection Basis


532       2/20/2010         Memo; Subject: Launch of Public Affairs Plan                        N
533       2/22/2010         Memo; RE: Wire Transfer Details for
                                                                                                N
                            Personal Bonuses
534       3/1/2010          Invoice; Sensoryphile Invoice for $20,000                           N
535       4/6/2010          Memo; Subject: SL Staff Meeting                                     Y     Hearsay - FRE 802
536       4/9/2010          Memo; Subject: Goals of US Trip                                     N
537       6/1/2010          Email; Subject: Q and A for VY                                      N
538       6/2/2010          Email; Subject: Press and Diplomatic Package                        N
539       6/18/2010         Memo; Subject: Update on Key Policy Initiatives and Elections
                                                                                                N
                            Strategy
540       6/30/2010         Email; Subject: Local election program                              N
541       8/10/2010         Email; Subject: First TV spot                                       N
542       10/4/2010         Email; Subject: brochures                                           N
543       3/2/2011          Memo; Subject: Biden call today – News from Washington
                                                                                                N
544       3/24/2011         Email; Subject: Transfers from Leviathan                                  Hearsay - does not qualify as a business record or meet any
                                                                                                Y
                                                                                                      other exception
545       7/13/2011         Email; Subject: Thank you for digest                                      Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
546       7/17/2011         Email; Subject: FW: Re: On the roadmap                                    Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
547       7/21/2011         Email; Subject: Digital Roadmap                                           Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
548       7/29/2011         Email; Subject: О таблицах                                                Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
549       9/21/2011         Email; Subject: WSJ address                                               Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
550       10/11/2011        Memo; Subject: Consulting Payments                                  N
551       10/16/2011        Email; Subject: FW: here is the two pager                                 Hearsay - FRE 805; Relevance - FRE 402/403
                                                                                                Y
552       11/8/2011         Proposal; Signed SP&C Home Improvement Renovation Proposal
                                                                                                N
                            for 174 Jobs Lane
553       11/29/2011        Email; Subject: Payments                                                  Authenticity - from Gates Search Warrant; Hearsay
                                                                                                Y
554                         [Exhibit Removed]
555                         [Exhibit Removed]
556       2/16/2012         Proposal; Signed SP&C Home Improvement Renovation Proposal
                                                                                                N
                            for 29 Howard St
557       2/24/2012         Email; Subject: our message is getting across..please see this 3          Hearsay - FRE 805; Relevance - FRE 402/403
                            minute                                                              Y
                            item...important
558       3/6/2012          Email; Subject: Questions you asked me to
                                                                                                N
                            check
559                         [Exhibit Removed]
560       3/7/2012          Email; Subject: meeting next week                                   Y     Hearsay - FRE 802
561       3/11/2012         Email; Subject: Re: my schedule & agenda                            N
562       3/12/2012         Email; Subject: Re: Canw e please touch base
                                                                                                N
                            today?
563       3/13/2012         Email; Subject: here you go                                         N
564       3/15/2012         Email; Subject: срочная просьба                                     N
565       4/5/2012          Email; Subject: President VFY                                       Y     Relevance - FRE 402/403
566                         [Exhibit Removed]
567       4/10/2012         Email; Subject: VP and SL request                                   Y     Hearsay - FRE 802
568       4/11/2012         Email chain; Subject: Re: AC Update                                 N
569       4/11/2012         Email; Subject: небольш просьба                                     N
570       4/12/2012         Email chain; Subject: Fwd: FBC                                            Relevance - FRE 402/403; Hearsay - FRE 802
                                                                                                Y
571       4/12/2012         Email; Subject: еще один док для СВ                                       Relevance - FRE 402/403; Hearsay - FRE 802
                                                                                                Y
572       4/27/2012         Email; Subject: Enquiry                                                   Relevance - FRE 402/403; Hearsay - FRE 802
                                                                                                Y
573       4/29/2012         Email; Subject: пара страниц                                              Relevance - FRE 402/403; Hearsay - FRE 802
                                                                                                Y
574       5/2/2012          Email; Subject: Fw: Euro 2012 Scripts                               N
575       5/3/2012          Email; Subject: Memo on Press conference                            N
576       5/8/2012          Email chain; Subject: Re: Antw.: US                                       Hearsay - FRE 802
                                                                                                Y
                            Consultants
577                         [Exhibit Removed]
578       5/21/2012         Email chain; Subject: Re: Interviews in Washington                        Relevance - FRE 402/403; Hearsay - FRE 802;
                                                                                                Y
                                                                                                      Authenticity
579       5/23/2012         Email; Subject: Confidential                                        N
580       5/24/2012         Email; Subject: On draft Senate resolution                          Y     Hearsay - FRE 802
581       5/29/2012         Email; Subject: Your interview to Bloomberg                         Y     Hearsay - FRE 802
582       6/4/2012          Email; Subject: ST documents                                        N
583       6/6/2012          Email; Subject: On new addressee                                    Y     Hearsay - FRE 802



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584       6/19/2012         Memo; Subject: Polling Project                                        Y     Authenticity - from Gates Search Warrant
585       7/12/2012         Email; Subject: EI Outreach ‐ International
                                                                                                  N
                            Plan
586       7/13/2012         Email; Subject: Demidko documents ‐ Party                                   Authenticity - from Gates Search Warrant; Hearsay
                                                                                                  Y
                            program
587       7/14/2012         Email; Subject: testimonials, Accomplishments, schedule                     Authenticity - Search Warrant; Hearsay - FRE 805
                                                                                                  Y
588       8/20/2012         Memo; SUBJECT: OSCE‐ODIHR Priorities & Recommended
                                                                                                  N
                            Actions to Deal with These Priorities
589       9/15/2012         Email; Subject: Lobby efforts                                         N
590       9/22/2012         Email chain; Subject: Re: интервью                                          Hearsay - FRE 802; FRE 805; Portion of the document
                                                                                                  Y     is not in English and a translation has not been
                                                                                                        supplied
591       9/22/2012         Email; Subject: FW: Statement on Durbin
                                                                                                  N
                            actions
592       9/23/2012         Email; Subject: щас на русском пришлю                                 Y     Hearsay - FRE 802; FRE 805
593       9/24/2012         Email; Subject: FW: the MFA statutemen                                      Hearsay - FRE 802; FRE 805; Portion of the document
                                                                                                  Y     is not in English and a translation has not been
                                                                                                        supplied
594       9/24/2012         Memo; Re: Our Current Washington
                                                                                                  N
                            Strategy and Post Elections Plan
595       9/28/2012         Memo; Re: Meeting in NYC with Aleksander
                                                                                                  N
                            Kwasnieski
596       10/6/2012         Email; Subject: Memo on campaign Status                               N
597       10/14/2012        Email; Subject: EI MEMO                                               N
598       10/27/2012        Email chain; Subject: Re: We dragged it out of them to enhance our          Hearsay - FRE 802
                                                                                                  Y
                            opportunities
599       12/11/2012        Email; Subject: Executive Summary                                     Y     Hearsay - FRE 802: FRE 805
600       12/12/2012        Memo; Re: Opportunities with New
                                                                                                  N
                            European Ambassadors
601       1/11/2013         Document; Subject: US Consultants ‐ Ina per
                                                                                                  N
                            AK Jan 11, 2013
602       1/15/2013         VY Agenda                                                             N
603       1/24/2013         Email; Subject: Do not want to bother Paul                            Y     Hearsay - FRE 802
604       2/4/2013          Memo; Subject: US Government Activity                                 N
605                         [Exhibit Removed]
606       2/21/2013         Memo; Subject: Hapsburg ‐ Update                                      N
607       2/21/2013         Email Subject: Esche 1 dok                                                  Hearsay - FRE 802; FRE 805; Portion of the document
                                                                                                  Y     is not in English and a translation has not been
                                                                                                        supplied
608       3/1/2013          Proposal; SP&C Proposal for 83 Whooping
                                                                                                  N
                            Hollow Road
609       3/5/2013          Filename; VFY US activity report 3‐1‐2013                                   Hearsay - FRE 802; FRE 805; Portion of the document
                            RUS.doc                                                               Y     is not in English and a translation has not been
                                                                                                        supplied
610       3/12/2013         Email; Subject: Проди                                                 Y     Hearsay - FRE 802; FRE 805
611       3/16/2013         Email chain; Subject: Re: Washington Memo                             Y     Hearsay - FRE 802; FRE 805
612       3/18/2013         Memo; Subject: Meeting with Under
                                                                                                  N
                            Secretary Wendy Sherman
613       3/21/2013         Agenda; R. Gates Agenda                                               N
614       4/5/2013          Memo; Subject: re PR Effort this week in
                                                                                                  N
                            Kyiv
615       4/19/2013         Email chain; Subject: FW: IPR Strategic                                     Hearsay - FRE 802; FRE 805
                                                                                                  Y
                            Communications Proposal
616       4/22/2013         Memo; Subject: US Consultants – Quarterly
                                                                                                  N
                            Report
617       4/25/2013         Memo; Subject: re Summary of Overdue
                                                                                                  N
                            Accounts
618       5/15/2013         Memo; re May 17 Rallies                                                     Authenticity - Undated and no foudation for recipient or
                                                                                                  Y
                                                                                                        whether it was ever sent
619       5/17/2013         Email chain; Subject: Re: Draft                                       Y     Hearsay - FRE 802; FRE 805
620       5/17/2013         Email; Subject: Re: did you talk to SL about                                Hearsay - FRE 802; FRE 805
                                                                                                  Y
                            DFIAC?
621       6/5/2013          Email; Subject: FW: AG Briefing Book                                  Y     Hearsay - FRE 802; FRE 805
622       6/5/2013          Email; Subject: Re: Meeting with former PM Gusenbauer re                    Hearsay - FRE 802; FRE 805
                                                                                                  Y
                            Ukraine/ change of venue
623       6/21/2013         Email; Subject: Evrei                                                 Y     Hearsay - FRE 802; FRE 805
624       6/26/2013         Email; Subject: Emailing: 130626 UKR SL                                     Hearsay - FRE 802; FRE 805; Portion of the document
                            memo on Durbin resolution .docx                                       Y     is not in English and a translation has not been
                                                                                                        supplied
625       7/17/2013         Email; Subject: Re: pretty darn stupid                                Y     Hearsay - FRE 802; FRE 805
626       7/17/2013         Email; Subject: Exclusive: How Ukraine Wooed Conservative                   Hearsay - FRE 802
                                                                                                  Y
                            Websites
627       7/27/2013         Email; Subject: Re: doc for your edits                                Y     Hearsay - FRE 802; FRE 805
628       7/28/2013         Email; Subject: Re: Talking points for SL                             Y     Hearsay - FRE 802; FRE 805



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629       7/29/2013         Calendar; Subject: lUNCH = PRESIDENT VFY                       N
630       9/20/2013         Email; Subject Yiakora                                               Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
631       9/25/2013         Calendar; Subject: Breakfast ‐ VFY                             N
632       10/4/2013         Email; Subject: Re: Codel visit                                Y     Hearsay - FRE 802; FRE 805
633       10/18/2013        Calendar; Subject: VFY                                         N
634       11/18/2013        Email; Subject: небольшой документ                                   Hearsay - FRE 802; Portion of the document is not in
                                                                                           Y     English and a translation has not been supplied

635       12/21/2013        Calendar; Subject: Lunch. Pres VFY                             N
636       1/24/2014         Email; Subject: Re: Payments/Transfers                               Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
637       2/4/2014          Calendar; Subject: President VFY                               N
638       3/19/2014         Email; Subject: Serangon Holdings Limited                            Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
639       Sep. 2014         Ukraine OB Campaign Strategy Powerpoint                              Authenticity - Author unknown and lack of foundation
                                                                                           Y
640       4/22/2014         Bill of Materials; Big Picture Solutions                       N
641       4/28/2014         Invoice; Big Picture Solutions #INV‐114006                     N
642       4/29/2014         Email; Subject: Re: Campaign TPs and Events                    N
643       5/2/2014          Email; Subject: Cyprus Companies                                     Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
644       5/24/2014         Email; Subject: Organization of Package of                           Authenticity - from Gates Search Warrant
                                                                                           Y
                            documents
645       9/24/2014         OB Daily Talking Points                                              Authenticity - Author unknown, undated and lack of
                                                                                           Y
                                                                                                 foundation
646       10/7/2014         Memo; Subject: re OB Campaign Leaflets                         N
647       10/29/2014        Memo; Subject: Roadmap for November‐
                                                                                           N
                            December 2014
648       12/13/2014        Email; Subject: con call this morning ‐
                                                                                           N
                            around 800am
649       4/17/2015         Email; Subject: Tax ‐ Extensions                               N
650       6/23/2015         Document; Peranova Loan Forgiveness
                                                                                           N
                            Letter
651       7/10/2015         Email; Subject: Re: Contract for 1                                   Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
652       8/25/2015         Email; Subject: RE: Contract for 1                                   Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
653       8/28/2015         Email; Subject: RE: FYI                                              Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
654       9/15/2015         Email; Subject: Re: Forms                                            Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
655       9/15/2015         Email; Subject: DMP Loan                                             Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
656       9/16/2015         Email; Subject: DMP International, LLC                               Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
657       9/16/2015         Email; Subject: Re: Loan doc?                                        Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
658       9/23/2015         Email; Subject: Media Buy                                      N
659                         [Exhibit Removed]
660                         [Exhibit Removed]
661                         [Exhibit Removed]
662       2/4/2016          Email; Subject: RE: DMP Int'l Income                                 Relevance - FRE 402/403; Hearsay - does not qualify as a
                            Question                                                       Y     business record or meet any other exception

663       4/5/2016          Email; Subject: Re: DMP International                                Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
                            Questions
664                         [Exhibit Removed]
665       8/12/2016         Email; Subject: RE: Associated Press                           Y     Hearsay - FRE 802/805
666                         [Exhibit Removed]
667       9/5/2016          Email Subject: Docs                                            N
668       9/13/2016         Email; Subject: Re: Updates ‐DMP                                     Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
669       10/6/2016         Email; Subject: RE: up to date?                                      Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
670       10/7/2016         Email; Subject: Lola Partners, LLC and draft                         Relevance - FRE 402/403
                                                                                           Y
                            gift tax returns
671       8/25/2016         Email; Subject: Re: Invoice                                          Authenticity - from Gates Search Warrant; Hearsay
                                                                                           Y
672       2/27/2018         UFED Report                                                    N
673       2/27/2018         Email; Subject: Greetings from old friend                      Y     Hearsay - FRE 802
674       2/27/2018         Email; Subject: Re: Strategic COmmunications Report for the          Hearsay - FRE 802; FRE 805
                                                                                           Y
                            Minister
675       4/9/2010          Memo; Re: PrivateDinner – USG &
                                                                                           N
                            International Institution Officials



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Ex. No.           Date                             Description                             Obj.                        Objection Basis


676       2012‐2013      MC Brooklyn Holdings Ledger                                        N
677       2012‐2014      KWC Tax Organizers for P. Manafort (2012‐                                Hearsay - does not qualify as a business record or meet any
                                                                                            Y
                         2014)                                                                    other exception
678                      Proposal; SP&C Home Improvement                                          Relevance - FRE 402/403
                                                                                            Y
                         Proposal for 174 Jobs Lane
679                      Photographs; Clothing with Alan Couture Labels                     Y     Relevance - FRE 402/403
680                      Photographs; Clothing with House of Bijan Labels                   Y     Relevance - FRE 402/403
681                      Photographs; House of Bijan Watch                                  Y     Relevance - FRE 402/403
682                      Documents; J&J Oriental Rug Gallery                                      Hearsay - does not qualify as a business record or meet any
                                                                                            Y
                         Documents                                                                other exception
683                      Contacts; P. Manafort Contact List                                       Hearsay - does not qualify as a business record or meet any
                                                                                            Y
                                                                                                  other exception
684                      First Republic Bank Account XXXXXXX6524                                  Hearsay - does not qualify as a business record or meet any
                                                                                            Y
                         for DMP International                                                    other exception
685       3/24/2015      Email; Subject OB Contract 2015 FINAL
                                                                                            N
                         FINAL
686                      Email; Subject: BVK Memo                                                 Authenticity - from Gates Search Warrant; Hearsay
                                                                                            Y
687       5/10/2005      Memo; Subject: First 100 Days of the
                         Yushchenko Administration ‐ Foundation for Lobbying Program        N

688       3/29/2010      Email; Subject BVK MEMO                                            N
689       4/13/2010      Guest List; Dinner IHO President Victor                                  Hearsay - FRE 802
                                                                                            Y
                         Yanukovych
690       2/1/2013       Document; RG TO DO                                                 N
691       2/24/2013      Memo; Subject: Hapsburg Activities Update
                                                                                            N
                         and URGENT ACTION REQUEST
692       2/26/2013      Memo; Subject: Portnov – US Visit                                  N
693       3/2/2013       Document; [Untitled]                                               Y     Hearsay - FRE 802; FRE 805
694       3/16/2013      Memo; Subject: RP Trip to Washington                               N
695       3/23/2013      Memo; Subject: US Consultants Activity –
                                                                                            N
                         Weekly Update
696       4/7/2013       Memo; Subject: Hapsburg ‐ April/May Plan                           N
697       4/21/2013      Memo; Subject: US Consultants Activity –
                                                                                            N
                         Weekly Update
698       4/25/2013      Memo; Subject: Communications Strategy on Intellectual Property
                                                                                            N
                         Rights Issue
699       4/25/2013      Memo; Subject: Summary of Accounts
                                                                                            N
                         Overdue
700       5/7/2013       Schedule; Sergeiy Kluyiev                                          Y     Hearsay - FRE 802
701       5/8/2013       Schedule; Leonid Kozhara                                           Y     Hearsay - FRE 802
702       5/8/2013       Schedule; Sergeiy Kluyiev                                          Y     Hearsay - FRE 802
703       5/8/2013       Meeting Summaries; Sergeiy Kluyiev                                 Y     Hearsay - FRE 802
704       5/13/2013      Meeting Summaries; Leonid Kozhara                                  Y     Hearsay - FRE 802
705       5/14/2013      Memo; Subject: Washington, DC Visits –
                                                                                            N
                         Kozhara and Kluyiev
706       6/9/2013       Memo; AG Trip Report                                               N
707       6/17/2013      Memo; Subject: Ledger Update                                       N
708       7/10/2013      Memo; Subject: Hapsburg and US                                     N
709                      [Exhibit Removed]                                                  N
710       7/22/2014      Memo; Subject: Wire Payments                                       N
711       3/11/2015      Email; Subject: FINAL                                              N
712       4/25/2013      Document; Kyiv Agenda, Week of April 23                            N
713       none           Outline; PJM Presentation to Weekly
                                                                                            N
                         Campaign Management Meeting
714       4/14/2007      Memo; Subject: FARA Registration                                   N
715       8/15/2016      Email; Subject: Re: First cut                                      Y     Hearsay - FRE 802; FRE 805
716       9/24/2012      Email; Subject: shit                                               Y     Hearsay - FRE 802; FRE 805
717       8/21/2012      Email; Subject: Gorshenyn                                          Y     Hearsay - FRE 802; FRE 805
718       5/9/2012       Email; Subject: RE: Contracts                                      Y     Hearsay - FRE 802; FRE 805
719       5/14/2013      Email; Subject: Fwd: VY Memo on LK/SK trip                               Hearsay - FRE 802
                                                                                            Y
                         to DC
720       6/26/2013      Memo; Subject: Durbin Resolution ‐ S. 165                          N
721       6/7/2013       Email; Subject: Re: Next Klyuyev visit                             Y     Hearsay - FRE 802; FRE 805
722       4/22/2013      Memo; Subject: US Consultants ‐ Quarterly
                                                                                            N
                         Report
723                      Memo; Subject: Translation expenses                                      Authenticity - Undated and no foudation for recipient or
                                                                                            Y
                                                                                                  whether it was ever sent
724       3/23/2013      Memo; Subject: US Consultants Activity ‐
                                                                                            N
                         Weekly Update
725       5/11/2015      Email; Subject: Updates                                            Y     Hearsay - FRE 802
726       12/20/2012     Memo; Subject: 2012 Taxes                                          Y     Hearsay - FRE 802
727       9/25/2015      Email; Subject: Update                                             Y     Relevance - FRE 402/403
728                      Agenda; Conf call RG Saturday December 11                          N
729                      Agenda; Rick Agenda Business                                       N



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730                               Gates ‐ payments                                                            Hearsay - does not qualify as a business record or meet any
                                                                                                        Y     other exception; Authenticy - unclear authorship

731                               Actinet BOC Account Documents                                         N
732                               Actinet Hellenic Account Documents                                    N
733                               Black Sea BOC Account Documents                                       N
734                               Bletilla BOC Account Documents                                        N
735                               Bletilla Hellenic Account Documents                                   N
736                               Global Endeavour Loyal Bank Account
                                                                                                        N
                                  Documents
737                               Gloval Highway BOA Account Documents                                  N
738                               Jeunet Loyal Bank Account Documents                                   N
739                               Leviathan BOC Account Documents                                       N
740                               LOAV BOC Account Documents                                            N
741                               Lucicle BOC Account Documents                                         N
742                               Lucicle Hellenic Statements                                           N
743                               Marziola Hellenic and BOC Account
                                                                                                        N
                                  Documents
744                               Olivenia Hellenic and BOCC Account
                                                                                                        N
                                  Documents
745                               Peranova BOC Account Documents                                        N
746                               Serangon BOC Account Documents                                        N
747                               Yiakora BOC Account Documents                                         N
800                               Certificates of Authenticity                                          N
801                               Photograph; 1046 N Edgewood Street,                                         Relevance - FRE 402/403
                                                                                                        Y
                                  Arlington, VA
802                               Photograph; 29 Howard Street, New York,                                     Relevance - FRE 402/403
                                                                                                        Y
                                  NY
803                               Photograph; 377 Union Street, Brooklyn, NY                            Y     Relevance - FRE 402/403
804                               Photograph; 601 N Fairfax Street,                                           Relevance - FRE 402/403
                                                                                                        Y
                                  Alexandria, VA
805                               Photograph; 174 Jobs Lane, Bridgehampton,                                   Relevance - FRE 402/403
                                                                                                        Y
                                  NY
806                               [Potential Immunity Order]
807                               Email; Subject: FW Paul's tax return questions ‐ including 3rd qtr
                                                                                                        N
                                  est ‐ due 9/16
808                               Email; Subject: небольш просьба                                             Authenticity - from Gates Search Warrant; Hearsay; Email
                                                                                                        Y
                                                                                                              not in English
809                               Email; Subject: 2010 Extension                                        N
810                               Email; Subject: Mirror Cube Films                                     Y     Relevance - FRE 402/403
811                               Email; Subject: Tax planning and year end
                                                                                                        N
                                  issues
812                               Email; Subject: Ameriprise Statement of
                                                                                                        N
                                  income 2012
813                               Email; Subject: Summary of Call Today                                 N
814                               Email; Subject: LilRED                                                N
815                               Email; Subject: May Payments                                                Authenticity - from Gates Search Warrant; Hearsay - FRE
                                                                                                        Y
                                                                                                              805
816                               Email; Subject: Payments                                                    Authenticity - from Gates Search Warrant; Hearsay - FRE
                                                                                                        Y
                                                                                                              805
817                               Email; Subject: Payments                                                    Authenticity - from Gates Search Warrant; Hearsay - FRE
                                                                                                        Y
                                                                                                              805
818                               Monday Agenda ‐ Oct 15, 2012                                                Authenticity - Author unknown, undated and lack of
                                                                                                        Y
                                                                                                              foundation
819                               P. Manafort Flight Manifests                                          Y     Relevance - FRE 402/403
820       12/24/2014              Email; Subject: Re: Wire Today                                              Hearsay - does not qualify as a business record or meet any
                                                                                                        Y
                                                                                                              other exception
821       4/2/2014                Email; Subject: JAM MOVE & BABY ROUGH                                       Relevance - FRE 402/403
                                                                                                        Y
                                  PLAN
822       4/14/2014               Email; Subject: List of furniture to move                             Y     Relevance - FRE 402/403
823       8/16/2016               Email; Subject: 2016 DMP P&L                                                Authenticity - from Gates Search Warrant; Hearsay - FRE
                                                                                                        Y
                                                                                                              805
824       3/31/2015               Email; Subject: DMP International ‐ Open                                    Authenticity - from Gates Search Warrant; Hearsay - FRE
                                                                                                        Y
                                  Items                                                                       805
825       9/14/2016               Email; Subject: Daisy                                                 Y     Hearsay - FRE 805
826       1/7/2015                Email; Subject Paul Manafort 11 E. 29th                                     Relevance - FRE 402/403; Authenticity - from Gates
                                  Street Rent                                                           Y     Search Warrant; Hearsay - FRE 805

827                    5/9/2012   Email; Subject: Results of Tymo Hospital Transfer News Story
                                                                                                        N
828                   6/25/2012   Email; Subject: Analysis of EPP and PACE resolutions - Creating
                                  the Fall                                                              N
                                  Offensive
829                   9/19/2012   Email; Subject: Re: an urgent request ON IT                           N
830                   9/22/2012   Email; Subject: Fw: promised docs                                     N



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Ex. No.           Date                                        Description                                Obj.                     Objection Basis


831                   9/25/2012   Email; Subject: Re Final Coverage Report of Vienna Conference
                                                                                                          N
832                   9/25/2012   Email; Subject: Libel bill                                              N
833                   9/28/2012   Email; Subject: Fw: eyes only                                           N
834                   10/9/2012   Email; Subject: Re: Collection of documents to use to Promote
                                  Election                                                                N
                                  Credibility and Fairness
835               10/15/2012      Email; Subject: Fw: Op Ed                                               N
836               10/20/2012      Email; Subject: PR Doc                                                  N
837               10/24/2012      Email; Subject: Re: OP ED - Response to Clinton ashton
                                                                                                          N
838               10/24/2012      Email; Subject: Re: Hillary Sides…                                      N
839               10/25/2012      Email; Subject: Re: Foreign Minister quotes for Wash Times
                                                                                                          N
                                  URGENT
840               10/26/2012      Subject: Re: New Goal on Anti Semite stuff                              N
841               10/28/2012      Subject: FW: Israeli MFA Statement                                      N
842               10/30/2012      Subject: Re: New York Times Op - ed: Draft 1                            N
843               12/11/2012      Subject: Contact List and Talking Points                                N
844                2/26/2013      Subject: Fw: AK Update                                                  N
845                 3/6/2013      Subject: Re: Vlasenko matter - Final docs and Plan for Today
                                                                                                          N
846                    4/5/2013   Subject: Fwd: Washington Post                                           N
847                    4/8/2013   Subject: Re: Statement by NSC Spokesperson Caitlin Hayden on
                                                                                                          N
                                  Ukraine
848                   4/24/2013   Email; Subject: Re: Interfax update - OSCE PA supports signing of
                                  EU-                                                                     N
                                  Ukraine Association Agreement
849                   4/28/2013   Subject: Lunch confirmed and attached is revised draft dissem as
                                  requested                                                               N
                                  with names black and more CPC
850                    5/5/2013   Subject: Re: 830 am breakfast on May 8 with Alfred in
                                                                                                          N
                                  CONFIRMED
851                   5/16/2013   Subject: FW: Tymo latest news - May 15                                  N
852                   5/17/2013   Subject: DC Notes                                                       N
853                   5/17/2013   Subject: as requested for PJM                                           N
854                   6/14/2013   Email; Subject: FW: Smith - Article                                     N
855                               [Exhibit Removed]                                                       N
856                    7/2/2013   Subject: FW: Yanukovych, presidents of Visegrad Four to meet in
                                  Wisla on                                                                N
                                  July 2-3, says Komorowski's press service
857                   7/14/2013   Subject: Re: Fule confident that the AA with Ukraine will get
                                  signed at the                                                           N
                                  Vilnius summit
858                   8/16/2013   Subject: Re: Media Strategy for September                               N
859                   8/21/2013   Email; Subject: Re: Chicago TPs                                         N
860                    9/6/2013   Email; Subject: [FWD: FW: Ukraine's Supreme Court not to
                                  consider
                                                                                                          N
                                  Tymoschenko's appeal against her sentence in 'gas case']

861                    9/9/2013   Email; Subject: Re: Media Strategy for September - THEME to
                                  build on in                                                             N
                                  Europe, US, & Ukr
862                   9/18/2013   Email; Subject: Fwd: Exxon                                              N
863                   10/2/2013   Email; Subject: FW: Popesku: PACE deputies hail reforms in
                                  Ukraine on road                                                         N
                                  to signing Association Agreement with EU
864               10/10/2013      Email; Subject: FWD: EP Foreign Affairs Committee approved AA
                                  with                                                                    N
                                  Ukraine
865                   11/5/2013   Email; Subject: Re: CONFIDENTIAL [FWD: FW: Government
                                  signs deal with
                                                                                                          N
                                  Chevron Corp. to develop shale gas in western Ukraine]

866                   11/6/2013   Email; Subject: FW: Government signs deal with Chevron Corp. to
                                  develop                                                                 N
                                  shale gas in western Ukraine
867               11/12/2013      Email; Subject: Re: Raising the stakes of a Russian strangulation of
                                  Ukraine's                                                               N
                                  economy
868               12/16/2013      Email; Subject: Re: PACE and SMD elections                              N
869               12/29/2013      Email; Subject: FW: Rada released EuroMaiden protesters
                                                                                                          N
900       4/16/1981               Form; Short Form Registration #3226 Paul                                      Relevance (FRE 402 and 403); Not admissible under
                                                                                                          Y
                                  Manafort                                                                      FRE 404(b)




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901       9/30/1982         Form; Short Form Registration #3415 Paul                                      Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Manafort                                                                      FRE 404(b)
902       10/5/1982         Form; Registration No. 3415 Black, Manafort                                   Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            & Stone, Inc.                                                                 FRE 404(b)
903       6/1/1984          Section 5 Inspection file, Registration #3600, Black, Manafort and            Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Stone Public Affairs                                                          FRE 404(b)
904       6/1/1984          Registration No. 3594 Paul J. Manafort                                        Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                                                                                                          FRE 404(b)
905       6/14/1984         Registration No. 3600 Black, Manafort and                                     Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Stone Public Affairs, Inc.                                                    FRE 404(b)
906       2/8/1985          Letter; Subject: Registration No. 3600                                        Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                                                                                                          FRE 404(b)
907       5/6/1985          Form; Short Form Registration #3600 Paul                                      Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Manafort                                                                      FRE 404(b)
908       1/30/1986         Form; Registration No. 3710 Black,                                            Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Manafort, Stone & Atwater                                                     FRE 404(b)
909       3/11/1986         Form; Short Form Registration #3600 Paul                                      Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Manafort                                                                      FRE 404(b)
910       7/1/1986          Section 5 Inspection file, Registration # 3600 Black, Manafort,               Relevance (FRE 402 and 403); Not admissible under
                            Stone and Kelly Public                                                  Y     FRE 404(b)
                            Affairs Company
911       7/1/1986          Section 5 Inspection file, Registration #                                     Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            3594, Paul J. Manafort                                                        FRE 404(b)
912       7/1/1986          Section 5 Inspection file, Registration # 3415, Black, Manafort,              Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Stone and Atwater                                                             FRE 404(b)
913       7/1/1986          Section 5 Inspection file, Registration # 3710, Black, Manafort,              Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Stone and Atwater                                                             FRE 404(b)
914       12/22/1987        Letter; [No Subject] to James Rocap                                           Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                                                                                                          FRE 404(b)
915       4/16/1997         Form; Registration #5173 Paul Manafort                                        Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                                                                                                          FRE 404(b)
916       3/2/1998          Form; Short Form Registration #5240 Paul                                      Relevance (FRE 402 and 403); Not admissible under
                                                                                                    Y
                            Manafort                                                                      FRE 404(b)
917       9/13/2016         Letter: Subject: Re: Possible Obligation to                             N
                            Register Pursuant to the Foreign Agents Registration Act

918       9/13/2016         Letter; Subject: Re: Possible Obligation to Register Pursuant to the    N
                            Foreign Agents
                            Registration Act (FL)
919       9/13/2016         Letter; Subject: Re: Possible Obligation to                             N
                            Register Pursuant to the Foreign Agents Registration Act (VA)

920       9/13/2016         Letter; Subject: Re: Paul J. Manafort, Jr. and DMP International,       N
                            LLC ‐ Possible Obligation to Register Pursuant to the Foreign
                            Agents
                            Registration Act
921                         [Exhibit Removed]
922                         [Exhibit Removed]
923                         [Exhibit Removed]
924                         [Exhibit Removed]
925                         [Exhibit Removed]
926       6/27/2017         FARA Registration; DMP International, LLC                               N
                            (#6440)
927       7/18/2018         Certificate of Authenticity; DMP                                        N
                            International FARA Filing
928                         [Exhibit Removed]
929       11/23/2016;       Certified Letters: (1) Subject: Re: September 13, 2016 Letters to       N
          2/10/17           DMP International, LLC; Paul J. Manafort, Jr.; and Richard W.
                            Gates; and (2) Subject: Re: Letters to DMP International, LLC;
                            Paul J. Manafort, Jr.; and Richard W. Gates

930       10/18/2016        Letter; Subject: Re: Inquiry Regarding Possible Obligation to           N
                            Register Pursuant to the Foreign Agents Registration Act

931       1/30/2008         Short‐Form Registration Statement Pursuant to the Foreign Agents        N
                            Registration Act of 1938; Christopher Deri

932       4/22/2008         Short‐Form Registration Statement Pursuant to the Foreign Agents        N
                            Registration Act of 1938; Christopher Deri

933       7/25/2008         Amendment to Registration Statement Pursuant to the Foreign             N
                            Agents Registration Act of 1938; Daniel J. Edelman, Inc.

934       7/25/2008         Exhibits A and B to Registration Statement;                             N
                            Daniel J. Edelman, Inc.



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935       1/21/1987         Letter; Subject: Registration No. 3600, 3415,                        Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            and 3710                                                             FRE 404(b)
936       5/29/1987         Letter; Subject: Paul J. Manafort Registration                       Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            No. 3594                                                             FRE 404(b)
937       10/23/1986        Inspection Report Summary Registration                               Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            #3710                                                                FRE 404(b)
938       12/3/1986         Inspection Report Summary Registration                               Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            #3415                                                                FRE 404(b)
939       12/3/1986         Inspection Report Summary                                            Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                                                                                                 FRE 404(b)
940       5/14/1987         Inspection Report Summary Registration                               Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            #3594                                                                FRE 404(b)
941       2/23/1986         FARA Registration Statement; Paul Manafort                           Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Reg. #3594                                                           FRE 404(b)
942       2/23/1986         FARA Registration Short Form; Paul                                   Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort Reg. #3594                                                  FRE 404(b)
943       2/23/1986         FARA Registration Supplemental Statement                             Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                                                                                                 FRE 404(b)
944       2/23/1986         FARA Registration Amendment to Registration Statement; Paul          Relevance (FRE 402 and 403); Not admissible under
                            Manafort Reg.                                                  Y     FRE 404(b)
                            #3594
945       7/3/1985          FARA Registration Supplemental Statement                             Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Reg. #3594                                                           FRE 404(b)
946       2/3/1986          FARA Registration Supplemental Statement                             Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Reg. #3594                                                           FRE 404(b)
947       3/5/1985          FARA Registration Amendment to Registration Statement; Paul          Relevance (FRE 402 and 403); Not admissible under
                            Manafort Reg.                                                  Y     FRE 404(b)
                            #3594
948       3/19/1985         FARA Registration Short Form; Paul                                   Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort Reg. #3594                                                  FRE 404(b)
949       6/26/1986         Amendment to Registration Form; Paul                                 Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort; #3594                                                      FRE 404(b)
950       7/7/1986          Supplemental Statement; Paul Manafort;                               Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            #3594                                                                FRE 404(b)
951       1/6/1987          Supplemental Statement; Paul Manafort;                               Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            #3594                                                                FRE 404(b)
952       9/24/1987         Amendment to Registration Form; Paul                                 Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort; #3594; for 6/4/86                                          FRE 404(b)
953       9/24/1987         Amendment to Registration Form; Paul                                 Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort; #3594; for 12/4/85                                         FRE 404(b)
954       9/24/1987         Amendment to Registration Form; Paul                                 Relevance (FRE 402 and 403); Not admissible under
                                                                                           Y
                            Manafort; #3594; for 6/4/85                                          FRE 404(b)
1000      11/7/2016 ‐       Billing records Akin Gump
                                                                                           N
          8/11/2017
1001                        [Exhibit Removed]
1002                        [Exhibit Removed]
1003                        [Exhibit Removed]
1004                        [Exhibit Removed]
1005                        [Exhibit Removed]
1006                        [Exhibit Removed]
1007                        [Exhibit Removed]
1008                        [Exhibit Removed]
1009                        [Exhibit Removed]
1010                        [Exhibit Removed]
1011                        [Exhibit Removed]
1012                        [Exhibit Removed]
1013                        [Exhibit Removed]
1014                        [Exhibit Removed]
1015                        [Exhibit Removed]
1016                        [Exhibit Removed]
1017      5/11/2007         Email; Subject: Ukraine Proposal                               N
1018      5/31/2007         Email; Subject: WSJ story on Yanukovich                        N
1019      5/31/2007         Email; Subject: FW: SOW                                        N
1020      6/6/2007          Email; Subject: RE: Speak this Week                            Y     Hearsay (FRE 805)
1021      6/6/2007          Email; Subject: Four Month Communication Workplan ‐ Draft      N
                            6‐6‐07 (am)
1022      6/6/2007          Email; Subject: Master Narrative v1                            N
1023      6/7/2007          Email; Subject: RE: FYI                                        N
1024      6/7/2007          Memo; Subject: Re: Proposed Issue                              N
                            Platforms
1025      6/8/2007          Email; Subject: Ukraine 6/6 mtg notes                          N
1026      6/9/2007          Email; Subject: FW: EU Report                                  N
1027      6/14/2007         Email; Subject: Ukraine Meeting Notes                          N
1028      1/30/2008         Exhibits A and B to FARA Registration; Daniel                  N
                            J. Edelman, Inc.



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Ex. No.              Date                              Description                              Obj.                       Objection Basis


1029      6/15/2011         Email; Subject: Re: STRASBOURG FBC strategy and deliverables,        Y     Hearsay (FRE 802)
                            god faith basis,
                            and meeting June 21st
1030      6/7/2011          Email; Subject: RE: Strasbourg Planning                              Y     Relevance (FRE 402 and 403)
1031      6/16/2011         Email; Subject: Re: STRASBOURG FBC
                            strategy and deliverables, god faith basis, and meeting June 21st    N

1032      6/26/2011         Email; Subject: Fwd: Conf Call                                       Y     Relevance (FRE 402 and 403)
1033      6/30/2011         Email; Subject: RE: from Sergiy Lovochkin                            N
1034      7/1/2011          Email; Subject: Fw: FBC Proposal Version 2 ‐
                                                                                                 N
                            Comments
1035      7/1/2011          Email; Subject: Ukraine contract                                     N
1036      7/8/2011          CONTRACT FOR THE PROVISION OF A STRATEGIC
                            COMMUNCIATIONS CAMPAIGN FOR 8 JULY 2011 ‐ 7
                            JANUARY 2011 BETWEEN NAATHAN CONSULTING (BVI)                        N
                            LTD […] AND HADRIA VENTURES LTD

1037      7/10/2011         Email; Subject: Fwd: soft copy with same
                                                                                                 N
                            password
1038      7/10/2011         Email; Subject: Fwd: New e‐mail
                                                                                                 Y     Hearsay (FRE 802); Relevance (FRE 402 and 403)
1039      7/11/2011         Email; Subject: RE: Follow up                                        Y     Relevance (FRE 402 and 403)
1040      7/16/2011         Email; Subject: Re: On the roadmap                                   Y     Hearsay (FRE 802)
1041      7/17/2011         Email; Subject: Re: Have now check and ascertained that Oleg               Relevance (FRE 402 and 403)
                            asked my team to                                                     Y
                            send materials to him.
1042      7/17/2011         Email; Subject: Re: We have a problem                                Y     Relevance (FRE 402 and 403)
1043      7/17/2011         Email; Subject: Fwd: Ukraine Media
                                                                                                 Y     Relevance (FRE 402 and 403)
                            Coverage
1044      7/17/2011         Email; Subject: Re: We have a problem
                                                                                                 Y     Hearsay (FRE 802); Relevance (FRE 402 and 403)
1045                        [Exhibit Removed]
1046      7/20/2011         Email; Subject: RE: An open letter to Yanukovych: Mr. President,
                            time to stop                                                         N
                            digging yourself into a hole
1047      7/21/2011         Email; Subject: contract
                                                                                                 Y     Hearsay (FRE 802); Relevance (FRE 402 and 403)
1048      7/21/2011         Email; Subject: Fwd: contract                                        N
1049      7/23/2011         Email; Subject: Re: Blogosphere                                      N
1050      7/25/2011         Email; Subject: [unknown]; Attachments: UKR Indep Day Memo
                                                                                                 N
                            220711FINAL.docx
1051      7/25/2011         Email; Subject: Action Items from Conf Call
                                                                                                 N
                            July 25
1052      7/25/2011         Email; Subject: Re: Ukraine blog live                                N
1053      7/27/2011         Email; Subject: FW: IRI tells US Congress                                  Relevance (FRE 402 and 403)
                            freedom in Ukraine Odeteriorating1 under Yanukovych                  Y

1054      7/29/2011         Email; Subject: FW: International criticism of Tymoshenko trial
                                                                                                 Y     Relevance (FRE 402 and 403)
                            grows as TV coverage ends
1055      7/29/2011         Email; Subject: Fwd: European all‐or‐nothing
                                                                                                 Y     Relevance (FRE 402 and 403)
                            game of Yulia Tymoshenko
1056      8/1/2011          Email chain; Subject: Fw: Agenda ‐ Conf Call                               Relevance (FRE 402 and 403)
                                                                                                 Y
                            8‐2‐11
1057      8/3/2011          Email; Subject: FW: Why Do EU Countries' Ratings Deteriorate
                                                                                                       Non-hearsay portions are not relevant (FRE 402 and 403);
                            and Ukraine's …                                                      Y
                                                                                                       Relevant portions are hearsay (FRE 802)
                            Improve?
1058      8/5/2011          Email; Subject: RE: Storyline
                                                                                                 Y     Hearsay (FRE 802); Relevance (FRE 402 and 403)
1059      8/10/2011         Email; Subject: Re: Ukraine meeting today                            Y     Relevance (FRE 402 and 403)
1060      8/12/2011         Email; Subject: Re: OpEd Draft
                                                                                                 Y     Hearsay (FRE 802); Relevance (FRE 402 and 403)
1061      8/13/2011         Email; Subject: Re: revised op‐ed                                    Y     Relevance (FRE 402 and 403)
1062      8/15/2011         Email; Subject: Re: revised op‐ed and weekly
                                                                                                 N
                            call ‐ ACTION ITEMS
1063      8/16/2011         Email; Subject: Re: op‐ed and press release                          N
1064      8/19/2011         Email; Subject: Re: Op ed status                                     N
1065      8/24/2011         Email; Subject: Re: WSJ op‐ed                                        N
1066      8/24/2011         Email; Subject: Re: Interview                                        N
1067      8/24/2011         Email; Subject: Re: Independence Day
                                                                                                 N
                            Coverage Report
1068      8/24/2011         Email; Subject: Re: FINAL op‐ed                                      N
1069      8/26/2011         Email; Subject: Re: Weekly Ukraine Call                              N
1070      9/6/2011          Email; Subject: RE: Ukraine Call ‐ Action                                  Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                 Y
                            Items
1071      9/7/2011          Email; Subject: RE: WSJ/FT Interview                                 N



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1072      9/9/2011          Email; Subject: Re: Heritage KG lunch                                N
1073      9/19/2011         Email; Subject: Re: NY Media and draft op‐
                                                                                                 N
                            ed
1074      9/20/2011         Email; Subject: Re: WSJ ed board                                     N
1075      10/12/2011        Email; Subject: Re: Interview Opportunity ‐
                                                                                                 N
                            several publications
1076      10/19/2011        Email; Subject: Re: Interview with Azarov                            Y     Certain portions are hearsay (FRE 802)
1077      10/25/2011        Email; Subject: Fwd: report of activities                            N
1078      11/20/2011        Email; Subject: For your eyes only                                   N
1079      11/29/2011        Email; Subject: [unknown]                                            N
1080      12/15/2011        Email; Subject: Confidential memo, same
                                                                                                 N
                            password
1081      12/17/2011        Email; Subject: Fw: Bloomberg and Wall Street Journal Dec 19th
                            or later in the week                                                 N
                            FEEDBACK APPRECIATED
1082      12/23/2011        Email; Subject: We are very pleased to share with you our latest
                            article on Ukraine and the AA, by a "friend" in Washington           N

1083      1/11/2012         Email; Subject: Re: Ukraine's foreign minister interview for Dow           Hearsay (FRE 802)
                            Jones/Wall                                                           Y
                            Street Journal ‐ JANUARY 2012
1084      1/14/2012         Email; Subject: Down to 3 pages plus                                       Relevance (FRE 402 and 403)
                                                                                                 Y
                            timeline please review
1085      1/26/2012         Email; Subject: Re: Fw: Fwd: On freedom of
                                                                                                 N
                            press index
1086      1/27/2012         Email; Subject: More than 100 pick ups in
                                                                                                 N
                            dissemination of press freedom rankings story
1087      2/1/2012          Consultancy Agreement dated February 1, 2012, between Goldwing             Relevance (FRE 402 and 403)
                            Investment PTE LTD and P.O.V. Media LTD                              Y

1088      2/3/2012          Email; Subject: Fw: Agenda for next
                                                                                                 N
                            Monday's call for PM
1089      2/15/2012         Email; Subject: not yet published                                    Y     Hearsay (FRE 802)
1090      3/6/2012          Email; Subject: Episodes IMPORTANT                                   Y     Relevance (FRE 402 and 403)
1091                        [Exhibit Removed]
1092      3/13/2012         Email; Subject: Re: Updates                                          Y     Hearsay (FRE 802)
1093      3/27/2012         Email; Subject: Strategic COmmunications Report for the Minister           Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                 Y
1094      4/16/2012         Email; Subject: Re: as requested                                     N
1095                        [Exhibit Removed]
1096      4/17/2012         Email; Subject: slip up on cxssr                                           Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                 Y
1097      5/7/2012          Email; Subject: Re: can we coordinate when paul is going to be in          Relevance (FRE 402 and 403)
                                                                                                 Y
                            kyiv next week
1098      5/9/2012          Email; Subject: Could you help with two                                    Relevance (FRE 402 and 403)
                                                                                                 Y
                            rooms for may 15?
1099      5/17/2012         Email; Subject: US visit                                             Y     Hearsay (FRE 802)
1100      5/29/2012         Email; Subject: Re: the other thing that i                                 Hearsay (FRE 802)
                                                                                                 Y
                            know you are handling
1101      6/10/2012         Memo; Subject: Revised Network Idea for 2012 Involving                     Hearsay (FRE 802)
                            Third‐Party Champions on Ukraine Electoral and Economic              Y
                            Reforms
1102      6/13/2012         Email; Subject: Re: Summary Report                                   N
1103      6/20/2012         Email; Subject: Monthly Activity Report                              Y     Hearsay (FRE 802)
1104      6/22/2012         Email; Subject: Re: Ukraine's OSCE Chairmanship news story ‐               Hearsay (FRE 802)
                            Dissemination                                                        Y
                            Results
1105      6/27/2012         Email; Subject: Kissinger endorses Ukraine's EU membership news            Hearsay (FRE 802)
                            story ‐ Dissemination                                                Y
                            Results
1106      7/10/2012         Email; Subject: Khoroshkovskiy US Trip                               Y     Hearsay (FRE 802)
1107      7/11/2012         Email; Subject: Re: Summary of Skype With
                                                                                                 N
                            Vasyl and Olena, and action plan
1108      7/12/2012         Email; Subject: Fw: VK's draft op ed                                 Y     Hearsay (FRE 802)
1109      7/12/2012         Email; Subject: Fw: VK's draft op ed                                 Y     Hearsay (FRE 802)
1110      7/12/2012         Email; Subject: op ed outline for karan                              Y     Hearsay (FRE 802)
1111      7/17/2012         Email; Subject: VK interviews                                        N
1112      7/17/2012         Email; Subject: Re: Contributors for CXSSR                           Y     Hearsay (FRE 802)
1113      7/17/2012         Email; Subject: Op ed for us to place in USA                               Hearsay (FRE 802)
                                                                                                 Y
                            for VK
1114      7/20/2012         Email; Subject: Re: FW: Op ed for us to place                              Hearsay (FRE 802)
                                                                                                 Y
                            in USA for VK
1115      7/20/2012         Email; Subject: VK article for placement                             N
1116      7/25/2012         Email; Subject: Re: Op Ed for us to place in                               Hearsay (FRE 802)
                                                                                                 Y
                            USA for VK



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1117      7/27/2012         Email; Subject: Hand‐Over List                                          Y     Hearsay (FRE 802)
1118      7/27/2012         Email; Subject: Re: VK Washington press                                 N
1119      7/27/2012         Email; Subject: Re: Kindly advice when you
                                                                                                    N
                            send VK info
1120      7/27/2012         Email; Subject: Re: What's on Weekly Report                             Y     Hearsay (FRE 802)
1121      7/27/2012         Email; Subject: Re: Op Ed for us to place in                                  Hearsay (FRE 802)
                                                                                                    Y
                            USA for VK
1122      7/29/2012         Email; Subject: July 31 op ed and interview                             N
1123      7/29/2012         Email; Subject: Re: Contact person                                      N
1124      7/30/2012         Email; Subject: Re: op ed                                               N
1125      7/30/2012         Email; Subject: Re: op ed and intervies, dc 31                                Hearsay (FRE 802)
                                                                                                    Y
                            july
1126      7/30/2012         Email; Subject: Even better                                             Y     Hearsay (FRE 802)
1127      7/30/2012         Email; Subject: Re: it is nearly 3 am and I
                                                                                                    N
                            need to sleep 3 hours
1128      7/30/2012         Email; Subject: OpEd                                                    N
1129      7/30/2012         Email; Subject: rick, very terse                                        Y     Hearsay (FRE 802)
1130      7/30/2012         Email; Subject; Re: op ed and intervies, dc 31                                Hearsay (FRE 802)
                                                                                                    Y
                            july
1131      7/31/2012         Email; Subject: Re: Op ed and interviews                                N
1132      7/31/2012         Email; Subject: Re: VK ‐ Updates                                        N
1133      7/31/2012         Email; Subject: OpEd                                                    N
1134      7/31/2012         Email; Subject: Re: OP ED, Interview                                          Hearsay (FRE 802)
                                                                                                    Y
                            schedule, Addresses, CONTACT details
1135                        [Exhibit Removed]
1136      7/31/2012         Schedule; Media Interviews ‐ Schedule                                   Y     Authenticity (FRE 901)
1137      7/31/2012         Email; Subject: Fw: Op ed and interviews                                      Relevance (FRE 402 and 403) (duplicative of Ex. 1131)
                                                                                                    Y
1138                        [Exhibit Removed]
1139      8/1/2012          Email; Subject: Re: fyi                                                 Y     Hearsay (FRE 802)
1140      8/3/2012          Email; Subject: Tymoshenko Portal news story ‐ first results of the           Hearsay (FRE 802)
                                                                                                    Y
                            dissemination
1141      8/3/2012          Email; Subject: Re:                                                     N
1142      8/5/2012          Email; Subject: Habsburg Empire                                         N
1143      8/6/2012          Email; Subject: Hndover agf to do giornalino, chapters, thank                 Hearsay (FRE 802)
                            bulent, aug 27 speak to ilaria, sept 2 prvt jet, rick for contracts,
                            alfred for bank acct, chrck on chsllisn payments monday or tuesday
                                                                                                    Y
                            with gt, inform bank and send funds to uk and to lucca and to
                            bergamo

1144      8/7/2012          Email; Subject: for your eyes only                                      Y     Hearsay (FRE 802)
1145      8/8/2012          Email; Subject: Fwd: per Paul's request                                 Y     Hearsay (FRE 802)
1146      8/10/2012         Email; Subject: Re: RG account                                          Y     Hearsay (FRE 802)
1147      8/13/2012         Marziola/Gusenbauer Consultancy
                                                                                                    N
                            Agreement
1148      8/13/2012         Email; Subject: please read and reply with
                                                                                                    N
                            word doc encrypted
1149      8/21/2012         Email; Subject: URGENT ALFRED TO ALAN                                   Y     Hearsay (FRE 802)
1150      8/22/2012         Email; Subject: Fw: About New York                                      Y     Hearsay (FRE 802)
1151      8/22/2012         Email; Subject: WG: Contract                                            N
1152      8/22/2012         Email; Subject: Re: About New York                                      Y     Relevance (FRE 402 and 403)
1153      8/23/2012         Email; Subject: we need to do a one pager                                     Relevance (FRE 402 and 403)
                                                                                                    Y
                            on Urso
1154      8/23/2012         Email; Subject: Re: Daughter of Pavlor Movchan from Tymo party
                                                                                                    N
                            has contacted us
1155      8/28/2012         Email; Subject: In Addition                                             N
1156      8/31/2012         Email; Subject: Re: EO payment                                          N
1157      9/1/2012          Email; Subject: Alfred                                                  Y     Hearsay (FRE 802)
1158      9/5/2012          Email; Subject: CXSSR                                                   Y     Hearsay (FRE 802)
1159      9/5/2012          Email; Subject: Re: Big Opportunity: EU Probe of Gazprom Will                 Hearsay (FRE 802)
                            Show Why Ukraine Suffers From Tymo's 2009 Crime                         Y

1160      9/5/2012          Email; Subject: Re: schulz is asking Sasha for written report for EP
                                                                                                    N
                            by oct 2nd
1161      9/5/2012          Email; Subject: schulz is asking Sasha for                                    Hearsay (FRE 802)
                                                                                                    Y
                            written report for EP by oct 2nd
1162      9/5/2012          Email; Subject: Re: schulz is asking Sasha for written report for EP          Hearsay (FRE 802)
                                                                                                    Y
                            by oct 2nd
1163      9/7/2012          Email; Subject: Fw: WG: urgent                                          N
1164      9/7/2012          Email; Subject: Attached                                                N
1165      9/16/2012         Email; Subject: Re: Paris is already 90% confirmed for Nov 12th at
                            very prestigious                                                        N
                            institute!
1166      9/17/2012         Email; Subject: Re: KiG Vienna interviews,                                    Hearsay (FRE 802)
                                                                                                    Y
                            Inna site, and beyond…



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1167      9/17/2012      Email; Subject: Re: KiG Vienna interviews,                               Hearsay (FRE 802)
                                                                                            Y
                         Inna site, and beyond…
1168      9/17/2012      Email; Subject: RE: Eck and me to talk to charles and GT about           Hearsay (FRE 802)
                                                                                            Y
                         implementing below
1169      9/17/2012      Email; Subject: Re: Fw: very urgent                                Y     Hearsay (FRE 802)
1170      9/18/2012      Email; Subject: Re: Contact details                                Y     Hearsay (FRE 802)
1171      9/18/2012      Email: Subject: Contact details                                    Y     Hearsay (FRE 802)
1172      9/19/2012      Email; Subject: Fwd: an urgent request                             Y     Hearsay (FRE 802)
1173      9/19/2012      Email; Subject: i have been told that Sasha                        Y     Hearsay (FRE 802)
1174      9/19/2012      Email; Subject: am working on USA matter                           Y     Hearsay (FRE 802)
1175      9/19/2012      Email; Subject: i have been told AK already                              Hearsay (FRE 802)
                                                                                            Y
                         spoke to the Senator
1176      9/19/2012      Email; Subject: Re: eckart says resolution
                                                                                            N
                         already was voted?
1177                     [Exhibit Removed]
1178      9/28/2012      Email; Subject: RICK GATES on COnference
                                                                                            N
                         call today
1179      9/29/2012      Email; Subject: Re: Dial‐in and Contact Info                       N
1180      9/29/2012      Email; Subject: Re: Dial‐in and Contact Info                       N
1181      9/29/2012      Email; Subject: Re: weekend plan                                   Y     Hearsay (FRE 802)
1182      9/30/2012      Email; Subject: please review this and call                              Hearsay (FRE 802)
                                                                                            Y
                         me
1183      9/30/2012      Email; Subject: Re: weekend plan                                   Y     Hearsay (FRE 802)
1184      9/30/2012      Email; Subject: invoice                                            N
1185      9/30/2012      Email; Subject: Fw: nice copy                                      N
1186      10/1/2012      Email; Subject: Re: news story for dissemination monday morning          Hearsay (FRE 802)
                         at 9 am London time..but check with
                                                                                            Y
                         Eckart first

1187      10/3/2012      Email; Subject: Re: Tymoshenko party                                     Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                            Y
                         supports crack down on gays?                                             (duplicative of Ex. 1188)
1188      10/3/2012      Email; Subject: ALARM                                              Y     Hearsay (FRE 802)
1189      10/3/2012      Email; Subject: Re: ALARM                                          Y     Hearsay (FRE 802)
1190      10/8/2012      Email; Subject: Activity Report                                    Y     Hearsay (FRE 802)
1191      10/9/2012      Email; Subject: Re: Change of date to
                                                                                            N
                         October 23rd
1192      10/9/2012      Email; Subject: please review this evening                               Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                            Y
                                                                                                  (duplicative of Ex. 1193)
1193      10/9/2012      Email; Subject: Re: please review this                                   Hearsay (FRE 802)
                                                                                            Y
                         evening
1194      10/10/2012     Email; Subject: Kk                                                 Y     Hearsay (FRE 802)
1195      10/10/2012     Email; Subject: Re: On Urso                                        Y     Hearsay (FRE 802)
1196      10/12/2012     Email; Subject: Kwas op‐ed for WSJ                                 N
1197      10/12/2012     Email; Subject: Re: EOM Report                                     Y     Hearsay (FRE 802)
1198      10/13/2012     Email; Subject: Media Monitoring                                   Y     Hearsay (FRE 802)
1199      10/13/2012     Email; Subject: Paris and London                                   N
1200      10/13/2012     Email; Subject: Media Monitoring ‐ final                                 Hearsay (FRE 802)
                                                                                            Y
                         input from KK
1201      10/14/2012     Email; Subject: Alan priorities Sunday                                   Hearsay (FRE 802)
                                                                                            Y
                         Monday
1202      10/15/2012     Email; Subject: Your approval requested                                  Hearsay (FRE 802)
                                                                                            Y
                         soonets
1203      10/17/2012     Email; Subject: Non eu company needed for                                Relevance (FRE 402 and 403)
                                                                                            Y
                         habsburg contract
1204      10/17/2012     Email; Subject: RE: Yuschenko of interest?                         Y     Hearsay (FRE 802)
1205      10/18/2012     Email; Subject: Astonished                                         Y     Hearsay (FRE 802)
1206      10/18/2012     Email; Subject: op ed                                              Y     Hearsay (FRE 802)
1207      10/18/2012     Email; Subject: Re: We need to talk                                Y     Hearsay (FRE 802)
1208      10/19/2012     Email; Subject: Re: News                                           N
1209      10/20/2012     Email; Subject: Re: weekly report                                  Y     Hearsay (FRE 802)
1210      10/20/2012     Email; Subject: ukraine media                                      Y     Hearsay (FRE 802)
1211      10/23/2012     Email; Subject: Re: Prodi op ed                                    Y     Hearsay (FRE 802)
1212      10/23/2012     Email; Subject: nouvelle versione                                        Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                            Y
1213      10/24/2012     Email; Subject: RE: Final Dissemination                            Y     Hearsay (FRE 802)
1214      10/24/2012     Email; Subject: FW: INVOICE FOR MR ALAN                                  Relevance (FRE 402 and 403)
                                                                                            Y
                         FRIEDMAN
1215      10/24/2012     Email; Subject: Re: We urgenty need non EU company contract for          Relevance (FRE 402 and 403)
                         Afred's company,                                                   Y
                         thene you committed to
1216      10/26/2012     Email; Subject: Re: Bon de commande                                      Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                            Y
                         bannière RDN
1217      10/27/2012     Email; Subject: Re: op ed and media                                      Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                            Y
1218      10/28/2012     Email; Subject: you never saw this                                 Y     Relevance (FRE 402 and 403)



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1219      10/28/2012        Email; Subject: Re: journalist email lists                                      Relevance (FRE 402 and 403)
                                                                                                      Y
                            when you have time
1220      10/28/2012        Email; Subject: Here you go                                               Y     Relevance (FRE 402 and 403)
1221      10/29/2012        Email; Subject: Re: Bon de commande                                             Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
                            bannière RDN
1222      11/1/2012         Email; Subject: long talk with rick                                             Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1223      11/2/2012         Email; Subject: Fw: our latest news
                                                                                                      N
                            dissemination just out on CNBC
1224      11/2/2012         Email; Subject: Re: Fw: Fw: first publications                            Y     Hearsay (FRE 802)
1225      11/2/2012         Email; Subject: We need to be careful                                           Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1226      11/5/2012         Email; Subject: Re: Alfred contract needed                                Y     Relevance (FRE 402 and 403)
1227      11/7/2012         Email; Subject: Contract                                                  Y     Relevance (FRE 402 and 403)
1228      11/7/2012         Email; Subject: Re: Clinton Queries our                                         Hearsay (FRE 402 and 403)
                                                                                                      Y
                            release
1229      11/8/2012         Email; Subject: FW: Conference on Ukraine                                       Relevance (FRE 402 and 403)
                                                                                                      Y
                            in Paris
1230      11/9/2012         Email; Subject: Fwd: Helsinki Commission                                        Relevance (FRE 402 and 403)
                                                                                                      Y
                            staff meeting
1231      11/11/2012        Email; Subject: we should skype Tuesday                                   N
1232      11/13/2012        Email; Subject: for discussion…the solution is to insert this into the
                                                                                                      N
                            contract
1233      11/13/2012        Email; Subject: Final agreed contract, with VAT and
                                                                                                      N
                            SUBCONTRACTING BAN removed
1234      11/14/2012        Email; Subject: Re: Alfred Expenses                                       Y     Hearsay (FRE 402 and 403)
1235      11/14/2012        Email; Subject: Re: i will be with my lawyers
                                                                                                      N
                            and bank advisers tomorrow
1236                        [Exhibit Removed]
1237      11/14/2012        Email; Subject: Contract                                                  N
1238      11/15/2012        Email; Subject: Re: Are you aware of this?                                      Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1239                        [Exhibit Removed]
1240      11/19/2012        Email; Subject: Re: invoices expenses                                           Relevance (FRE 402 and 403)
                                                                                                      Y
                            giannotti
1241      11/20/2012        Email; Subject: Re: AW: WG: Contract                                      N
1242      11/20/2012        Email; Subject: Re: PJM Memo                                                    Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1243      11/29/2012        Email; Subject: Re: Important                                             Y     Relevance (FRE 402 and 403)
1244      12/5/2012         Email; Subject: Re: CDS Reporter                                          Y     Relevance (FRE 402 and 403)
1245      12/7/2012         Email; Subject: R. Monti ‐ assignment                                     Y     Hearsay (FRE 802)
1246      12/8/2012         Email; Subject: Re: can cxssr and red state hold a conference in DC             Hearsay (FRE 802)
                            on Ukraine at The                                                         Y
                            Crossroads
1247      12/11/2012        Email; Subject: Skadden Info                                              Y     Relevance (FRE 402 and 403)
1248      12/11/2012        Email; Subject: ANSA                                                            Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1249      12/11/2012        Email; Subject: report                                                    Y     Relevance (FRE 402 and 403)
1250      12/12/2012        Email; Subject: Re: Report                                                Y     Relevance (FRE 402 and 403)
1251      12/12/2012        Email; Subject: Re: Warsaw                                                N
1252      12/13/2012        Email; Subject: Re: Tymo Coverage Reports                                 Y     Hearsay (FRE 802)
1253      12/16/2012        Email; Subject: Fw: U.S. lawyers from Skadden would sentence                    Hearsay (FRE 802)
                            Tymoshenko for a longer period than Kireyev. BYT lost world
                                                                                                      Y
                            press

1254      1/9/2013          Email; Subject: Re: how is this as a start?                                     Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                      Y
1255                        [Exhibit Removed]
1256      1/10/2013         Email; Subject: Re: confidential rick                                     Y     Hearsay (FRE 802)
1257      1/16/2013         Email; Subject: RE: Briefing                                              Y     Relevance (FRE 402 and 403)
1258      2/20/2013         Email; Subject: Habsburg Activity Report                                  Y     Hearsay (FRE 802)
1259      2/23/2013         Email; Subject: Re: talked to rick                                        Y     Hearsay (FRE 802)
1260      2/27/2013         Email; Subject: AK Important This Morning                                 Y     Hearsay (FRE 802)
1261      3/1/2013          Email; Subject: Re: Trip to the US                                        Y     Hearsay (FRE 802)
1262      3/3/2013          Email; Subject: RP Letter                                                 N
1263      3/4/2013          Email; Subject: Re: RP Letter                                                   Relevance (FRE 402 and 403) (duplicative of Ex. 1262)
                                                                                                      Y
1264      3/4/2013          Email; Subject: [NO SUBJECT LINE]                                         Y     Hearsay (FRE 802)
1265      3/4/2013          Email; Subject: Re: Letter from AK                                        N
1266      3/4/2013          Email; Subject: RP Letter                                                 N
1267      3/4/2013          Email; Subject: Letter                                                    N
1268      3/5/2013          Email; Subject: Prodi in Washington                                       Y     Hearsay (FRE 802)
1269      3/5/2013          Email; Subject: Re: Prodi in Washington                                   Y     Hearsay (FRE 802)
1270      3/5/2013          Email; Subject: Washington dates                                          Y     Hearsay (FRE 802)
1271      3/5/2013          Email; Subject: Re: RP                                                    N



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1272      3/5/2013          Email; Subject: Pres. Prodi                                            N
1273      3/7/2013          Email; Subject: RP Letter                                              N
1274                        [Exhibit Removed]
1275      3/13/2013         Email; Subject: Great First Day                                        Y     Hearsay (FRE 802)
1276      3/22/2013         Email; Subject: Msg from PM to Sasha                                   Y     Hearsay (FRE 802)
1277      3/26/2013         Email; Subject: RE: U Deliverable Report                               Y     Hearsay (FRE 802)
1278      5/20/2013         Email; Subject: i am thinking we offer PJM a                                 Hearsay (FRE 802); Relevance (FRE 402 and 403)
                                                                                                   Y
                            slot for aperson
1279      1/29/2014         Email; Subject: Re: Items                                              N
1280      2/3/2014          Email; Subject: Re: Revised OpEd                                       N
1281      2/3/2014          Email; Subject: Re: RP contact                                         Y     Hearsay (FRE 802)
1282      2/3/2014          Email; Subject: Oped ‐ REVISED                                         N
1283      2/4/2014          Email; Subject: Re: Items                                              N
1284      2/4/2014          Email; Subject: FW: Oped ‐ REVISED                                     N
1285      2/4/2014          Email; Subject: Fwd: Oped ‐ REVISED                                    N
1286      2/4/2014          Email; Subject: Fwd: Op ed for RP                                      N
1287      2/5/2014          Email; Subject: Re: Oped ‐ REVISED                                     N
1288      2/7/2014          Email; Subject: Re: Oped                                               N
1289      2/18/2014         Email; Subject: NYT                                                    N
1290      2/18/2014         Email; Subject: Oped                                                   N
1291      2/20/2014         Email; Subject: NYT Oped ‐ RP                                          N
1292      4/1/2014          Email; Subject: Re: Speech                                             Y     Relevance (FRE 402 and 403)
1293      4/1/2014          Email; Subject: Re‐worked Speech                                       Y     Relevance (FRE 402 and 403)
1294      4/7/2014          Email; Subject: Fwd: Chance to renew the Party of Regions is lost ‐          Relevance (FRE 402 and 403)
                                                                                                   Y
                            Serhiy Tigipko
1295                        [Exhibit Removed]
1296      5/27/2014         Email; Subject: Ukraine's Richest Man Takes Aim at Pro‐Russian
                            Separatists, Calls for Unity ‐ 327 News Dissemination Results          N

1297                        [Exhibit Removed]
1298      1/12/2015         Email; Subject: FW: I had a nice chat last
                                                                                                   N
                            week with PJM
1299      2/3/2015          Email; Subject: Re: would be nice to catch up
                                                                                                   N
                            on Tuesday
1300      11/12/2016        Email; Subject: [FWD: Congratulations from Alan Friedman                     Relevance (FRE 402 and 403)
                            Request to be first EUROPEAN NEWSPAPER INTERVIEW
                                                                                                   Y
                            WITH
                            MR TRUMP]
1301      2/24/2018         Screenshots; Text Messages                                             N
1302      03/16/2014 ‐      Spreadsheet; Messages/Call Log
                                                                                                   N
          04/27/2018
1303      2/27/2018         Email; Subject: Greetings from KYIV                                    Y     Hearsay (FRE 802)
1304      4/4/2018          Text Message                                                           Y     Hearsay (FRE 802)
1305                        [Exhibit Removed]
1306                        [Exhibit Removed]
1307      8/1/2012          Memo; Subject: SA Report ‐ Media Plan                                  N
1308      9/19/2012         Email; Subject: Re: an urgent request ON IT                            N
1309      10/23/2012        Email; Subject: FW: Update media work ‐                                      Relevance (FRE 402 and 403)
                                                                                                   Y
                            Berlin Conf
1310      2/19/2013         Email; Subject: Washington                                             Y     Hearsay (FRE 802)
1311      2/20/2013         Email; Subject: Wash Trip                                              N
1312      2/20/2013         Email; Subject: Re: U story for CXSSR                                  Y     Hearsay (FRE 802)
1313      2/20/2013         Email; Subject: Fw: Updates                                            N
1314      2/21/2013         Email; Subject: new article on CXXSR on
                                                                                                   N
                            Ukraine
1315      2/22/2013         Email; Subject: what we sent paul after i                                    Hearsay (FRE 802)
                                                                                                   Y
                            spoke to sasha
1316      2/23/2013         Email; Subject: Fw: echo chamber                                       N
1317      2/23/2013         Email; Subject: highly unter 4 augen oder 6                                  Relevance (FRE 402 and 403)
                                                                                                   Y
                            jetzt
1318      2/25/2013         Email; Subject: this is an alternative version
                                                                                                   N
                            as well, a bit more American
1319      2/26/2013         Email; Subject: Re: McCain                                             N
1320      2/27/2013         Email; Subject: Re: AK Question                                        N
1321      2/27/2013         Email; Subject: AK                                                     Y     Relevance (FRE 402 and 403)
1322      2/28/2013         Email; Subject: AK                                                     Y     Relevance (FRE 402 and 403)
1323      3/1/2013          Email; Subject: Re: Draft Op Ed for Hill
                                                                                                   N
                            VERSION 2
1324      3/1/2013          Email; Subject: Re: DC Updates                                         N
1325                        [Exhibit Removed]
1326      3/3/2013          Email; Subject: Re: AK ‐ Updates                                       N
1327      3/5/2013          Email; Subject: RP Notional Schedule                                   N
1328      3/7/2013          Email; Subject: RP Letter                                              N
1329      3/7/2013          Email; Subject: Carnegie Speech                                        Y     Hearsay (FRE 802)
1330      3/8/2013          Email; Subject: Re: RP Trip                                            N



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Ex. No.              Date                              Description                               Obj.                       Objection Basis


1331      3/8/2013          Email; Subject: RP Visit to US                                        N
1332                        [Exhibit Removed]
1333      3/10/2013         Email; Subject: RP Schedule                                           N
1334      3/10/2013         Email; Subject: RP Oped                                               N
1335      3/12/2013         Email; Subject: Briefing Book                                         N
1336      3/12/2013         Email; Subject: Oped                                                  N
1337      3/13/2013         Email; Subject: FW: R: Expedited Port
                                                                                                  N
                            Courtesis for Romano Prodi
1338      3/13/2013         Email; Subject: Re: R: Expedited Port
                                                                                                  N
                            Courtesis for Romano Prodi
1339      3/13/2013         Email; Subject: Re: Fwd: RP                                           N
1340                        [Exhibit Removed]
1341      3/13/2013         Email; Subject: Re: R: Expedited Port
                                                                                                  N
                            Courtesis for Romano Prodi
1342      3/14/2013         Email; Subject: Fwd: Prodi Meeting with
                                                                                                  N
                            Rep. Keating: Readout
1343      3/15/2013         Email; Subject: Washington Memo                                       N
1344      3/19/2013         Email; Subject: Re: Prodi Media                                       N
1345      2/26/2018         News Article; Business Insider; Former European leaders struggle
                            to explain themselves after Mueller claims Paul Manafort paid them    N
                            to lobby for Ukraine
1346      2/28/2018         Telegram Message                                                      N
1347      2/28/2018         WhatsApp Message                                                      N
1348      3/6/2012          Senay; Wehrsten; Anderson; Saunders;                                        Hearsay - FRE 802
                                                                                                  Y
                            Wunnerlich; Huttenlocher; Williams
1349      5/4/2012          Document; Signature block Leonid Kozhara                              Y     Hearsay - FRE 802
1350      5/11/2012         Email; Subject: Confidential: Project Veritas
                                                                                                  Y
                            contract                                                                    Hearsay (FRE 802)
1351      5/18/2012         Email; Subject: Ukraine ‐ what we've been
                                                                                                  Y
                            up to                                                                       Hearsay (FRE 802/805)
1352      5/30/2012         Email; Subject: Re: Ukraine engagement                                Y     Hearsay (FRE 802/805)
1353      5/30/2012         Email; Subject: FW: Black Sea View Ltd                                Y     Hearsay (FRE 802/805)
1354      6/1/2012          Memo; PROPOSED OUTREACH UST FOR SA
                                                                                                  Y
                            LEGAL REPORT                                                                Author unknown
1355      6/18/2012         Email; Subject: Re: PR                                                Y     Hearsay (FRE 802/805)
1356      6/21/2012         Email; Subject: Re: Confirmation                                      Y     Hearsay (FRE 802)
1357      6/22/2012         Email; Subject: FW: RAPSI.com: U.S.
                            attorneys in ECHR under Tymoshenko case to cost Ukraine $12,5k        Y
                                                                                                        Hearsay (FRE 802/805)
1358      6/27/2012         Email; Subject: Website                                               Y     Hearsay (FRE 802)
1359      7/10/2012         Email; Subject: Re: Asset Tracing                                     Y     Hearsay (FRE 802/805)
1360      7/17/2012         Email; Subject: Re: Confirmation                                      Y     Hearsay (FRE 802/805)
1361      7/28/2012         Email; Subject: Re: Media Plan                                        Y     Hearsay (FRE 802/805)
1362      8/5/2012          Email; Subject: Re: Update                                            Y     Hearsay (FRE 802/805)
1363      8/13/2012         Email; Subject: Re: Call                                              Y     Hearsay (FRE 802)
1364      8/29/2012         Email; Subject: Re: Ukraine                                           Y     Hearsay (FRE 802)
1365      8/30/2012         Email; Subject: Memo for Manfort                                      Y     Hearsay (FRE 802)
1366      9/6/2012          Email; Subject: Call                                                  Y     Hearsay (FRE 802)
1367      9/6/2012          Email; Subject: Re: Lunch                                             Y     Hearsay (FRE 802)
1368      9/12/2012         Outward Payment                                                       N
1369      9/12/2012         Email; Subject: FW: MY COMMENTS                                       Y     Hearsay (FRE 802/805)
1370      9/13/2012         Email; Subject: Re: Meeting                                           Y     Hearsay (FRE 802/805)
1371      9/17/2012         Email; Subject: Re: Project Veritas                                   Y     Hearsay (FRE 802/805)
1372      9/21/2012         Email; Subject: Meeting Time                                          Y     Hearsay (FRE 802)
1373      9/21/2012         Email; Subject: Re: Meeting on Sunday, Sept
                                                                                                  Y
                            23 with Greg Craig in NYC                                                   Hearsay (FRE 802/805)
1374      9/23/2012         Email; Subject: Documents                                             Y     Hearsay (FRE 802)
1375      9/23/2012         Email; Subject: Re: GP final report response                          Y     Hearsay (FRE 802/805)
1376      9/25/2012         Email; Subject: Re: Meeting and Items                                 Y     Hearsay (FRE 802/805)
1377                        [Exhibit Removed]
1378      9/26/2012         Email; Subject: Notes                                                 Y     Hearsay (FRE 802)
1379      9/26/2012         Email; Subject: Updated documents                                     Y     Hearsay (FRE 802)
1380      9/26/2012         Email; Subject: docs
1381      9/27/2012         Email; Subject: Re: PJM Outline of Findings                           Y     Hearsay (FRE 802/805)
1382      9/28/2012         Email; Subject: Re: Update
1383      9/29/2012         Email; Subject: Document                                              Y     Hearsay (FRE 802)
1384      9/30/2012         Email; Subject: Re: Document                                          Y     Hearsay (FRE 802)
1385      9/30/2012         Email; Subject: Wave 2                                                Y     Hearsay (FRE 802)
1386      10/1/2012         Email; Subject: Re: Meeting                                           Y     Hearsay (FRE 802)
1387      10/2/2012         Email; Subject: Re: Master Grid                                       Y     Hearsay (FRE 802)
1388      10/2/2012         Email; Subject: Re: MFA Breifing Docs                                 Y     Hearsay (FRE 802/805)
1389      10/2/2012         Email; Subject: Re: FYI                                               Y     Hearsay (FRE 802)
1390      10/2/2012         Email; Subject: Matrix ‐ Actions                                      Y     Hearsay (FRE 802)
1391      10/5/2012         Email; Subject: Re: update                                            Y     Hearsay (FRE 802/805)
1392      10/8/2012         Email; Subject: Phones                                                Y     Hearsay (FRE 802)



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Ex. No.              Date                             Description                               Obj.                       Objection Basis


1393      10/9/2012         Email; Subject: FW: Manafort meeting notes                           Y     Hearsay (FRE 802/805)
1394      10/18/2012        Email; Subject: Re: Rick Gates ‐ Ukraine work                        Y     Hearsay (FRE 802/805)
1395      10/19/2012        Email; Subject: Project Veritas Long
                                                                                                 Y
                            View.docx                                                                  Hearsay (FRE 802)
1396      10/25/2012        Email; Subject: Press Statements                                     Y     Hearsay (FRE 802)
1397      11/26/2012        Email; Subject: Re: Report                                           Y     Hearsay (FRE 802/805)
1398                        [Exhibit Removed]
1399                        [Exhibit Removed]
1400      12/6/2012         Email chain; Subject: FW: Updated Docs                               Y     Hearsay (FRE 802/805)
1401      12/6/2012         Email; Subject: Docs                                                 Y     Hearsay (FRE 802)
1402      12/6/2012         Email; Subject: Phase one media                                      Y     Hearsay (FRE 802)
1403      12/10/2012        Email chain; Subject: Re: Journalist contact
                                                                                                 Y
                            details needed                                                             Hearsay (FRE 802)
1404      12/11/2012        Email; Subject: In reception                                         Y     Hearsay (FRE 802)
1405      12/13/2012        Email chain; Subject: Re: Report Coverage                            Y     Hearsay (FRE 802/805)
1406      12/14/2012        Email; Subject: Please call right away                               Y     Hearsay (FRE 802)
1407      2/1/2013          Email; Subject: RE: Project Veritas 2013‐01‐
                                                                                                 Y
                            30.docx                                                                    Hearsay (FRE 802)
1408      1/16/2013         Email; Subject: Re: Manafort                                         Y     Hearsay (FRE 802)
1409      2/28/2014         Email; Subject: RE: Ukraine                                          Y     Hearsay (FRE 802)
1410                        [Exhibit Removed]
1411      1/31/2012         Memo; Subject: Request for Congressional
                                                                                                 N
                            Update
1412      2/21/2012         Calendar; Subject: Rick Gates meeting re‐ representing the
                            Government of Ukraine in                                             Y
                            DC                                                                         Hearsay (FRE 805)
1413      4/2/2012          Calendar; Subject: Ukraine meeting with
                                                                                                 Y
                            Rick Gates                                                                 Hearsay (FRE 802)
1414      4/11/2012         Calendar; Subject: Internal Ukraine mtg w Vin, Rip, McSherry,
                            Andrew Wright (for Sam                                               Y
                            O), Lucy by phone                                                          Hearsay (FRE 802)
1415      5/14/2012         Itinerary for President Viktor A. Yushchenko                         N
1416      5/15/2012         Calendar; Subject: Viktor A. Yushchenko
                                                                                                 Y
                            meeting with Rep.Burton                                                    Hearsay (FRE 802)
1417      5/21/2013         Email; Subject: RE: AmCham ‐ Jorge Zukoski                           Y     Hearsay (FRE 802/805)
1418                        [Exhibit Removed]
1419      6/11/2012         Document; Home Page for ECFMU                                        Y     Hearsay (FRE 802)
1420                        [Exhibit Removed]
1421      6/14/2012         Calendar; Subject: Drinks with Rick Gates,
                                                                                                 Y
                            Amb Motseyk, Vin/ Tony                                                     Hearsay (FRE 802)
1422                        [Exhibit Removed]
1423      6/22/2012         Calendar; Subject: Accepted: Vin Weber / Joel Starr (Infofe)
                                                                                                 Y
                            meeting for Ukraine                                                        Hearsay (FRE 802)
1424      6/25/2012         Calendar; Subject: Vin Weber / Brian Wanko
                                                                                                 Y
                            meeting for Ukraine                                                        Hearsay (FRE 802)
1425                        [Exhibit Removed]
1426                        [Exhibit Removed]
1427      8/2/2012          Wire; Wells Fargo Wire Transfer Detail
                                                                                                 N
                            Report
1428                        [Exhibit Removed]
1429      9/12/2012         Calendar; Subject: Meet Rick Gates & Paul M and Borys
                                                                                                 Y
                            Kolesnikov ibreakfast room of                                              Hearsay (FRE 802)
1430      10/10/2012        Wire; Wells Fargo Wire Transfer Detail
                                                                                                 N
                            Report
1431      10/18/2012        Report; Pre‐Election Outreach Project                                N
1432                        [Exhibit Removed]
1433      10/24/2012        Report; Pre‐Election Outreach Project                                N
1434      10/31/2012        Chat with Lucy Claire Saunders                                       Y     Hearsay (FRE 802)
1435      11/9/2012         Email; Subject: RE: Call                                             Y     Hearsay (FRE 802/805)
1436      11/16/2012        Wire; Wells Fargo Wire Transfer Detail
                                                                                                 N
                            Report
1437      11/16/2012        Email; Subject: Ukraine                                              Y     Hearsay (FRE 802)
1438      11/16/2012        Email; Subject: RE: Invoice 201210‐0206
                                                                                                 Y
                            from Mercury Public Affairs LLC                                            Hearsay (FRE 802/805)
1439      11/20/2012        Calendar; Subject: Internal Ukraine Call Regarding Yefremov Visit
                            ‐ 11:30 EST / 10:30                                                  Y
                            Central                                                                    Hearsay (FRE 802)
1440      11/20/2012        Wire; Wells Fargo Wire Transfer Detail
                                                                                                 N
                            Report
1441      11/20/2012        Calendar; Subject: Accepted: Internal
                            Ukraine Call Regarding Yefremov Visit ‐ 11:30 EST / 10:30            Y
                            Central                                                                    Hearsay (FRE 802)
1442      11/27/2012        Email; Subject: Re: Meeting with Paul                                Y     Hearsay (FRE 802/805)
1443                        [Exhibit Removed]
1444                        [Exhibit Removed]



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Ex. No.              Date                            Description                            Obj.                       Objection Basis


1445      12/3/2012         Calendar; Subject: Vin Weber and Paul
                                                                                             Y
                            Manafort to meet with Jim Kolbe at CW                                  Hearsay (FRE 802)
1446      12/3/2012         Calendar; Subject: Vin Weber and Paul
                                                                                             Y
                            Manafort to meet with Jim Kolbe at CW                                  Hearsay (FRE 802)
1447      12/4/2012         Calendar; Subject: Call Paul Manafort 703
                                                                                             Y
                            623 4678                                                               Hearsay (FRE 802)
1448      12/14/2012        Memo; Subject: Government Relations
                                                                                             N
                            Strategy ‐ ECFMU
1449      12/17/2012        Email; Subject: RE: 2013                                         Y     Hearsay (FRE 802/805)
1450      12/19/2012        Email; Subject: RE: NGO Targets / Dem
                                                                                             Y
                            Senate Relationships                                                   Hearsay (FRE 802)
1451      12/21/2012        Wire; Wells Fargo Wire Transfer Detail
                                                                                             N
                            Report
1452                        [Exhibit Removed]
1453      1/16/2013         Email; Subject: Re: Call; Memo; Subject: US Congressional
                            Resolutions ‐ H.R. 27 and H.R.                                   Y
                            28                                                                     Hearsay (FRE 802/805)
1454      1/21/2013         Email; Subject: Re: Fwd: US ‐ This Week                          Y     Hearsay (FRE 802/805)
1455      1/24/2013         Email; Subject: RE: Meeting with
                                                                                             Y
                            Rohrabacher                                                            Hearsay (FRE 802/805)
1456      1/29/2013         Calendar; Subject: FW: MCW Ukraine team to meet with Lawyer ‐
                            Ken Gross re filings                                             Y
                            etc.                                                                   Hearsay (FRE 802)
1457      1/29/2013         Calendar; Subject: Rick Gates meeting @
                                                                                             Y
                            MCW with MCW                                                           Hearsay (FRE 802)
1458      1/30/2013         Email; Subject: RE: ECFMU ‐ US Board
                                                                                             Y
                            Members                                                                Hearsay (FRE 802/805)
1459      1/30/2013         Email; Subject: FW: Congressional Update
                                                                                             Y
                            (Rick Gates)                                                           Hearsay (FRE 802/805)
1460      1/30/2013         Memo; Project Veritas revenue recognition                        N
1461      2/1/2013          Email; Subject: Re: ECFMU Board
                                                                                             Y
                            Suggestions                                                            Hearsay (FRE 802)
1462      10/2/2013         Calendar; Lunch at Zaytinya (Vin Paul Rick)                      Y     Hearsay (FRE 802)
1463      2/12/2013         Calendar; MCW Ukraine team to meet with
                                                                                             Y
                            Lawyer ‐ Ken Gross re filings etc.                                     Hearsay (FRE 802)
1464      2/13/2013         Email; Subject: GR for Ukraine                                   Y     Hearsay (FRE 802/805)
1465      2/19/2013         Email; Subject: Re: Deliverables                                 Y     Hearsay (FRE 802/805)
1466      2/18/2013         Email; Subject: RE: Criminal Justice Reform ‐
                                                                                             Y
                            Leave Behind                                                           Hearsay (FRE 802)
1467      2/18/2013         Email; Subject: RE: Criminal Justice Reform ‐
                                                                                             Y
                            Leave Behind                                                           Hearsay (FRE 802/805)
1468      2/19/2013         Calendar; Subject: Zaytinya / Paul Manafort                      Y     Hearsay (FRE 802)
1469      2/25/2013         Email; Subject: Re: AK Visit to US                               Y     Hearsay (FRE 802)
1470      2/26/2013         Email; Subject: RE: Carnegie Event                               Y     Hearsay (FRE 802)
1471      2/27/2013         Email; Subject: RE: AK Update
                                                                                             Y
                            Email; Subject: RE: Meetings                                           Hearsay (FRE 802)
1472                        [Exhibit Removed]
1473      3/1/2013          Calendar; Subject: Kwasniewski Meeting with Senate Foreign
                                                                                             Y
                            Relations Minority Staff                                               Hearsay (FRE 802)
1474      3/4/2013          Email; Subject: RE: Meeting Follow‐up                            Y     Hearsay (FRE 802/805)
1475      2/11/2013         Calendar; Subject: Accepted: Ukraine internal meeting re
                                                                                             Y
                            assignments. FARA etc.                                                 Hearsay (FRE 802)
1476      3/5/2013          Email; Subject: RE: Prodi Visit                                  Y     Hearsay (FRE 802/805)
1477      3/6/2013          Email; Subject: RE: Prodi Visit                                  Y     Hearsay (FRE 802)
1478      3/12/2013         Email; Subject: Re: RP Schedule                                  Y     Hearsay (FRE 802)
1479      3/13/2013         Email; Subject: RE: RP Briefing Materials                        Y     Hearsay (FRE 802)
1480                        [Exhibit Removed]
1481      3/14/2013         Calendar; Subject: Romano Prodi Meeting
                                                                                             Y
                            with Rep. Tom Marino (R‐PA)                                            Hearsay (FRE 802)
1482      3/14/2013         Email; Subject: FW: Manafort Weber
                                                                                             Y
                            meetings on 19th                                                       Hearsay (FRE 802)
1483      3/15/2013         Wire; Wells Fargo Wire Transfer Detail
                                                                                             N
                            Report
1484      3/18/2013         Memo; Subject: Briefs for March 19
                                                                                             N
                            Meetings
1485      3/18/2013         Email; Subject: Re: Briefing Materials for
                                                                                             Y
                            Paul                                                                   Hearsay (FRE 802)
1486      3/19/2013         Calendar; Subject: Dinner / Manafort, Rohrabacher & Weber/
                            reservation under                                                Y
                            Rehberg                                                                Hearsay (FRE 802)
1487      3/19/2013         Calendar; Subject: Ukraine meeting at NED ‐ Nadia Diuk =Paul
                                                                                             Y
                            Manafort/ Vin Weber                                                    Hearsay (FRE 802)
1488      3/19/2013         Email; Subject: Read: Dinner / Manafort, Rohrabacher & Weber/
                            reservation under                                                Y
                            Rehberg                                                                Hearsay (FRE 802/805)



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Ex. No.              Date                              Description                                Obj.                       Objection Basis


1489      3/20/2013         Email; Subject: RE: Rosie Gray at Buzzfeed                             Y     Hearsay (FRE 802)
1490                        [Exhibit Removed]
1491      4/18/2013         Calendar; Ukraine Internal, VERY VERY
                                                                                                   N
                            IMPORTANT                                                                    Hearsay (FRE 802)
1492      4/19/2013         Memo; Subject: Quarterly Update                                        N
1493      4/26/2013         Calendar; Subject: Call Rick Gates (917) 209‐
                                                                                                   Y
                            7176 ‐ two things see notes                                                  Hearsay (FRE 802/805)
1494      4/30/2013         Calendar; Subject: FW: ECFMU Meeting with
                                                                                                   Y
                            Arjun Mody (Sen. Barrasso)                                                   Hearsay (FRE 802)
1495      5/2/2013          Email; Subject: Re: Kozhara                                            Y     Hearsay (FRE 802/805)
1496      5/7/2013          Email; Subject: Re: Rep Tom Marino (R‐PA)
                                                                                                   Y
                            House Committee on Foreign Affairs meet and greet                            Hearsay (FRE 802/805)
1497      5/8/2013          Schedule; Meeting Schedule for Sergeiy
                                                                                                   N
                            Kluyiev
1498      5/10/2013         Calendar; Subject: Congressman Dana Rohrabacher he ask if you
                            could give him a                                                       Y
                            call Friday                                                                  Hearsay (FRE 802)
1499      5/12/2013         Email; Subject: Re: Rohrbacher                                         Y     Hearsay (FRE 802/805)
1500      5/22/2013         Email; Subject: Re: Gusenbauer ‐
                                                                                                   Y
                            Washington Visit                                                             Hearsay (FRE 802/805)
1501      5/22/2013         Email; Subject: Re: Gusenbauer ‐
                                                                                                   Y
                            Washington Visit                                                             Hearsay (FRE 802/805); duplicative of Ex. 1500
1502                        [Exhibit Removed]
1503      5/29/2013         Calendar; Subject: Internal Ukraine Team                               Y     Hearsay (FRE 802)
1504      6/4/2013          Calendar; Subject: UKR Meeting with Joe
                                                                                                   Y
                            Pinder                                                                       Hearsay (FRE 802)
1505      6/4/2013          Calendar; Subject: UKR Meeting with Gib
                                                                                                   Y
                            Mullan                                                                       Hearsay (FRE 802)
1506      6/5/2013          Calendar; Subject: breakfast meeting with
                                                                                                   Y
                            AG /Paul Tony Rick Vin                                                       Hearsay (FRE 802/805)
1507      6/6/2013          Calendar; Subject: UKR Meeting with Rep.
                                                                                                   Y
                            Aderholt                                                                     Hearsay (FRE 802)
1508      6/6/2013          Calendar; Subject: UKR Meeting with Rep.
                                                                                                   Y
                            Marino                                                                       Hearsay (FRE 802)
1509      6/4/2013          Email; Subject: RE: AG Briefing Book                                   Y     Hearsay (FRE 802/805)
1510      6/7/2013          Memo; Alfred Gusenbauer, Washington, DC Visit THIS DOC IS
                            OCTOBER 10, 2012 STATUS
                                                                                                   N
                            UPDATE ‐ need to figure out which doc we want; if it's a 6/7/2013
                            doc ‐ this isn't right.
1511      6/7/2013          Receipt; Charlie Palmer                                                Y     Hearsay (FRE 802)
1512      6/16/2013         Email; Subject: RE: Rosie Gray at Buzzfeed                             Y     Hearsay (FRE 802)
1513                        [Exhibit Removed]
1514      6/26/2013         Email; Subject: RE: RP                                                 Y     Hearsay (FRE 802/805)
1515      6/28/2013         Email; Subject: Re: Travel                                             Y     Hearsay (FRE 802/805)
1516      7/10/2013         Email; Subject: Durbin Res                                             Y     Hearsay (FRE 802)
1517                        [Exhibit Removed]
1518      8/15/2013         Email; Subject: RE: Reuters: Russia tightens customs rules to force
                                                                                                   Y
                            Ukraine into union                                                           Hearsay (FRE 802)
1519      8/22/2013         Email; Subject: Re: Meeting                                            Y     Hearsay (FRE 802/805)
1520      8/27/2013         Email; Subject: Re: Outstanding Invoices from Mercury Public
                                                                                                   Y
                            Affairs LLC                                                                  Hearsay (FRE 802/805)
1521      8/28/2013         Email; Subject: Re: McCain                                             Y     Hearsay (FRE 802/805)
1522      8/29/2013         Email; Subject: FW: McCain                                             Y     Hearsay (FRE 802/805)
1523                        [Exhibit Removed]
1524      9/11/2013         Email; Subject: Re: can you verify Ukraine
                                                                                                   Y
                            paid us                                                                      Hearsay (FRE 802)
1525                        [Exhibit Removed]
1526      9/25/2013         Schedule; Subject: ECFMU Meeting with Rick
                                                                                                   Y
                            Gates                                                                        Hearsay (FRE 802)
1527      9/25/2013         Calendar; Subject: Accepted: HOLD ‐
                                                                                                   Y
                            Meeting with Rick                                                            Hearsay (FRE 802)
1528      10/2/2013         Calendar; Subject: Lunch at Zaytinya (Vin
                                                                                                   Y
                            Paul Rick)                                                                   Hearsay (FRE 802)
1529      10/9/2013         Email; Subject: Fwd: SK Proposed Schedule                              Y     Hearsay (FRE 802)
1530                        [Exhibit Removed]
1531      11/20/2013        Email; Subject: Fwd: request for you                                   Y     Hearsay (FRE 802)
1532      11/26/2013        Calendar; Subject: Mercury/Podesta call on
                                                                                                   Y
                            Ukraine                                                                      Hearsay (FRE 802)
1533                        [Exhibit Removed]
1534      11/26/2013        Email; Subject: RE: Report on Call with Rob
                                                                                                   Y
                            Van de Water                                                                 Hearsay (FRE 802)
1535                        [Exhibit Removed]
1536      12/11/2013        Email; Subject: RE: Reuters enquiry on Rosie
                                                                                                   Y
                            Gray article                                                                 Hearsay (FRE 802)
1537                        [Exhibit Removed]



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Ex. No.              Date                              Description                             Obj.                       Objection Basis


1538      1/24/2014         Email; Subject: Re: Congressman Roskam                              Y     Hearsay (FRE 802)
1539      1/28/2014         Calendar; Subject: Call with Rob van de
                                                                                                Y
                            Water                                                                     Hearsay (FRE 802)
1540      1/29/2014         Email; Subject: Re: Where are we with
                                                                                                Y
                            wiring money                                                              Hearsay (FRE 802/805)
1541                        [Exhibit Removed]
1542      2/3/2014          Email; Subject: Re: Elena Bondarenko                                Y     Hearsay (FRE 802/805)
1543      2/10/2014         Email; Subject: Re: Work agreement                                  Y     Hearsay (FRE 802)
1544      1/17/2014         Email; Subject: Fwd: McCain/Cardin Bill                             Y     Hearsay (FRE 802/805)
1545      2/18/2014         Email; Subject: RE: Menendez
                                                                                                Y
                                                                                                      Hearsay (FRE 802/805); duplicative of Ex. 1546
1546      2/18/2014         Email; Subject: RE: Menendez                                        Y     Hearsay (FRE 802/805)
1547      2/25/2014         Email; Subject: RE: Eli                                             Y     Hearsay (FRE 802)
1548      3/1/2014          Email; Subject: Still no money                                      Y     Hearsay (FRE 802)
1549                        [Exhibit Removed]
1550                        [Exhibit Removed]
1551      4/8/2014          Email; Subject: Wire                                                Y     Hearsay (FRE 802)
1552      4/30/2014         Email; Subject: Items                                               Y     Hearsay (FRE 802/805)
1553      5/1/2014          Schedule; Subject: Call with Rick Gates and
                                                                                                Y
                            Tony Podesta                                                              Hearsay (FRE 802)
1554      5/6/2014          Email; Subject: RE:                                                 Y     Hearsay (FRE 802)
1555      5/8/2014          Email; Subject: ECFMU Termination                                   Y     Hearsay (FRE 802)
1556      5/28/2014         Email; Subject: RE: Call                                            Y     Hearsay (FRE 802/805)
1557      5/29/2014         Schedule; Subject: Call with Rick Gates                             Y     Hearsay (FRE 802)
1558      5/30/2014         Email; Subject: RE: Memo on Ukraine                                 Y     Hearsay (FRE 802)
1559      6/5/2014          Email; Subject: Re: McCain                                          Y     Hearsay (FRE 802/805)
1560      11/12/2014        Calendar; Subject: Mercury/Rick Gates
                                                                                                Y
                            Meeting                                                                   Hearsay (FRE 802)
1561      2012‐2014         Email; Subject: RE: European center for modern Ukraine;
                            Wire Records                                                        Y
                                                                                                      Hearsay (FRE 802)
1562      2012‐2014         Invoices; Mercury to the European Centre for a Modern Ukraine
                                                                                                N
1563      8/18/2016         Email; Subject: Fwd: Follow‐up question                             Y     Hearsay (FRE 802/805)
1564      8/19/2016         Email; Subject: Re: So Caplin's now engaged for Podesta Attorney
                                                                                                Y
                            client privileged                                                         Hearsay (FRE 802/805)
1565      8/20/2016         Email; Subject: Re: one quick follow up
                                                                                                Y
                            question                                                                  Hearsay (FRE 802/805)
1566      8/23/2016         Email; Subject: RE: Note from Vin Weber                             Y     Hearsay (FRE 802/805)
1567      5/2/2017          Email; Subject: RE: Reporter Outreach to Hill
                                                                                                Y
                            Staff                                                                     Hearsay (FRE 802/805)
1568      4/13/2017         Email; Subject: Re: Today's WSJ                                     Y     Hearsay (FRE 802)
1569      2/21/2012         Email; Subject: Ukraine Meeting                                     Y     Hearsay (FRE 802)
1570      2/21/2012         Email; Subject: VM                                                  Y     Hearsay (FRE 802)
1571      3/2/2012          Email; Subject: pricing                                             Y     Hearsay (FRE 802)
1572      3/26/2012         Calendar; Subject: Accepted: Rick
                                                                                                N
                            Gates/Ukraine Meeting
1573      3/30/2012         Email; Subject: Re: Ukraine                                         Y     Hearsay (FRE 802)
1574      4/1/2012          Document; Podesta Group ‐ Client Summary                                  Relevance (FRE 402/403)
                                                                                                Y
                            April 2012
1575      4/1/2012          Email; Subject: Re: Ukraine                                               Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                                Y
1576                        [Exhibit Removed]
1577      4/2/2012          Calendar; T. Podesta; April 02, 2012                                      Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                                Y
1578      4/2/2012          Email; Subject: 2012 Ukraine Draft                                  Y     Hearsay (FRE 802)
1579      4/3/2012          Email; Subject: RE: draft contract                                  Y     Hearsay (FRE 802)
1580      4/4/2012          Email; Subject: Re: ukraine follow‐up                                     Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                                Y
1581      4/5/2012          Email; Subject: Ukraine Outline                                     Y     Hearsay (FRE 802)
1582      4/5/2012          Calendar; Subject: Accepted: Vin
                                                                                                N
                            Weber/Ukraine Meeting
1583      4/9/2012          Email; Subject: RE: Wednesday (April 11th)                          Y     Hearsay (FRE 802)
1584                        [Exhibit Removed]
1585      4/11/2012         Calendar; T. Podesta; April 11, 2012                                Y     Hearsay (FRE 802)
1586      4/16/2012         Email; Subject: RE: Ukraine                                         Y     Hearsay (FRE 802)
1587      4/17/2012         Email; Subject: Re: draft contract                                  Y     Hearsay (FRE 802)
1588      4/17/2012         Email; Subject: Contract and FARA drafts                            Y     Hearsay (FRE 802)
1589      4/18/2012         Email; Subject: follow up                                           Y     Hearsay (FRE 802)
1590                        [Exhibit Removed]
1591      4/20/2012         Email; Subject: Plan                                                Y     Hearsay (FRE 802)
1592      4/20/2012         Email; Subject: Draft doc ‐‐ Ukraine                                Y     Hearsay (FRE 802)
1593      4/25/2012         Email; Subject: quick call?                                         Y     Hearsay (FRE 802)
1594      4/27/2012         Email; Subject: Contracts                                           Y     Hearsay (FRE 802)
1595      4/27/2012         Email; Subject: FARA forms                                          Y     Hearsay (FRE 802)



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Ex. No.              Date                              Description                         Obj.                       Objection Basis


1596      4/27/2012         Email; Subject: Ukraine FARA/LDA                                Y     Hearsay (FRE 802)
1597      4/27/2012         Email; Subject: RE: Ukraine FARA/LDA                            Y     Hearsay (FRE 802)
1598      4/28/2012         International Sector Meeting                                    N
1599      4/30/2012         Email; Subject: Call with Mercury/Ken Gross                     Y     Hearsay (FRE 802)
1600      5/1/2012          Email; Subject: Treatment of Former Prime                             Hearsay (FRE 802)
                                                                                            Y
                            Minister Yulia Tymoshenko
1601      5/2/2012          Email; Subject: FW: Huffington Post Calls For                         Hearsay (FRE 802)
                                                                                            Y
                            U.S. Action Against Ukraine
1602      5/2/2012          Email; Subject: Ukraine                                         Y     Hearsay (FRE 802)
1603      5/2/2012          Calendar; Subject: Conference call with
                                                                                            N
                            Gates/Weber/Podesta….
1604      5/2/2012          Email; Subject: 2nd Ukraine call with                           Y     Hearsay (FRE 802)
1605      5/3/2012          Email; Subject: registration                                    Y     Hearsay (FRE 802)
1606      5/3/2012          Email; Subject: Ukraine                                         Y     Hearsay (FRE 802)
1607      5/3/2012          Email; Subject: Final Ukraine decision                          Y     Hearsay (FRE 802)
1608      5/4/2012          Email; Subject: Send to Rick?                                   Y     Hearsay (FRE 802)
1609      5/8/2012          Email; Subject: no contract no money no                               Hearsay (FRE 802)
                                                                                            Y
                            registration LDA
1610      5/8/2012          Email; Subject: U.S. Helsinki Commission to hold briefing on          Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                            Y
                            Ukraine
1611      5/9/2012          Email; Subject: Contracts                                       Y     Hearsay (FRE 802)
1612      5/9/2012          Email; Subject: Meeting opportunity                             Y     Hearsay (FRE 802)
1613      5/9/2012          Email; Subject: Meeting opportunity                             Y     Hearsay (FRE 802)
1614      5/9/2012          Email; Subject: Strategy                                        Y     Hearsay (FRE 802)
1615      5/9/2012          Email; Subject: Documents                                       Y     Hearsay (FRE 802)
1616      5/10/2012         Email; Subject: Ukraine update                                  Y     Hearsay (FRE 802)
1617      5/10/2012         Email; Subject: Ukraine ‐ Blinken meeting                       Y     Hearsay (FRE 802)
1618      5/10/2012         Email; Subject: Mercury C&W meetings                                  Hearsay (FRE 802)
                                                                                            Y
                            approved via Rick thus far
1619      5/10/2012         Email; Subject: Mercury C&W meetings                                  Hearsay (FRE 802)
                                                                                            Y
                            approved via Rick thus far
1620      5/10/2012         Email; Subject: Blinken                                         Y     Hearsay (FRE 802)
1621      5/10/2012         Email chain; Subject: RE: NATO                                  Y     Hearsay (FRE 802)
1622      5/11/2012         Email; Subject: Meeting Request: Former Ukranian President            Hearsay (FRE 802)
                                                                                            Y
                            Victor Yushchenko
1623      5/11/2012         Email; Subject: RE: Mercury C&W meeting                               Hearsay (FRE 802)
                                                                                            Y
                            approved via Rick thus far
1624      5/15/2012         Email; Subject: Update                                          Y     Hearsay (FRE 802)
1625      5/16/2012         Email; Subject: FW: Ukraine                                     Y     Hearsay (FRE 802)
1626      5/17/2012         Email; RE: Documents                                            Y     Hearsay (FRE 802)
1627      5/17/2012         Email; Subject: Re: Any Update                                  Y     Hearsay (FRE 802)
1628      5/18/2012         Email; Subject: MFA ‐ Gryshchenko                               Y     Hearsay (FRE 802)
1629      5/18/2012         Email; Subject: Re: fran MFA ‐ Gyrshchencko                     Y     Hearsay (FRE 802)
1630      5/21/2012         Email; Subject: RE: Ukraine                                     Y     Hearsay (FRE 802; FRE 805)
1631      5/22/2012         Email; Subject: RE: Signed ECFMU Contract                       Y     Hearsay (FRE 802)
1632      5/23/2012         Email; Subject: Re: FARA issue                                  Y     Hearsay (FRE 802)
1633      5/23/2012         Email; Subject: Burton Codel                                    Y     Hearsay (FRE 802)
1634      5/24/2012         Email; Subject: FW: Letter re: LDA vs. FARA                           Hearsay (FRE 802)
                                                                                            Y
                            filing
1635      5/25/2012         Email; Subject: Re: Fwd: Any money from                               Hearsay (FRE 802)
                                                                                            Y
                            ukraine?
1636      5/25/2012         Email; Subject: Re: Sen. Inhofe                                 Y     Hearsay (FRE 802)
1637      5/30/2012         Email; Subject: money                                           Y     Hearsay (FRE 802)
1638      5/30/2012         Calendar; Subject: Ukraine: Inhofe                                    Hearsay (FRE 802)
                                                                                            Y
                            amendment
1639      5/30/2012         Email; Subject: Inhofe Ukraine Amendment                        Y     Hearsay (FRE 802)
1640      5/30/2012         Email; Subject: FW: Inhofe Amendment                            Y     Hearsay (FRE 802)
1641                        [Exhibit Removed]
1642      5/30/2012         Email; Subject: Re: wire has not arrived                              Hearsay (FRE 802)
                                                                                            Y
                            where are we? please call me
1643      5/30/2012         Email; Subject: RE: wire                                        Y     Hearsay (FRE 802)
1644      5/31/2012         Email; Subject: FW: Inhofe Amendment                            Y     Hearsay (FRE 802)
1645      6/6/2012          Email; Subject: Re: item for you                                Y     Hearsay (FRE 802)
1646      6/6/2012          Email; Subject: RE: Website Contact Staff                             Hearsay (FRE 802)
                                                                                            Y
                            Form Submission
1647      6/7/2012          Email; Subject: back to the future                              Y     Hearsay (FRE 802)
1648                        [Exhibit Removed]
1649      6/8/2012          Email; Subject: RE: Hill targets                                Y     Hearsay (FRE 802)
1650      6/8/2012          Email; Subject: FW: Draft oped                                  Y     Hearsay (FRE 802)
1651      6/11/2012         Email; Subject: RE: Vin Weber                                   Y     Hearsay (FRE 802)
1652      6/12/2012         Email; Subject: FW: Ukraine call summary                        Y     Hearsay (FRE 802)
1653      6/13/2012         Email; Subject: RE: Hill targets                                Y     Hearsay (FRE 802)
1654      6/14/2012         Email; Subject: ecfmu                                           Y     Hearsay (FRE 802)
1655      6/19/2012         Email; Subject: Re: Ukraine call                                Y     Hearsay (FRE 802)




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1656      6/24/2012         Email; Subject: Ohendovskiy Visit ‐ Draft                                    Hearsay (FRE 802)
                                                                                                   Y
                            Schedule
1657      6/27/2012         Email; Subject: Re: what works for us?                                 Y     Hearsay (FRE 802)
1658      6/28/2012         Email; Subject: sovereign contract a/r                                       Hearsay (FRE 802)
                                                                                                   Y
                            update
1659      7/2/2012          Email; Subject: Re: fyi ‐ upcoming allies                                    Hearsay (FRE 802)
                                                                                                   Y
                            release
1660                        [Exhibit Removed]
1661      7/4/2012          Calendar; Subject: ECFMU Call ‐ Re‐ Scheduled ‐ Thursday 10:00
                            EST (9:00am                                                            N
                            Central)
1662      7/5/2012          Email; Subject: FW: Interview request (for Leonid Kozhara) from              Hearsay (FRE 802)
                            Newsweek/Daily Beast                                                   Y
                            ‐ REQUEST for background info
1663      7/8/2012          Email; Subject: Fw: Talk                                               Y     Hearsay (FRE 802)
1664      7/9/2012          Email; Subject: Fw: Internal Q & A                                     Y     Hearsay (FRE 802)
1665      7/10/2012         Email; Subject: FW: Ukraine Update                                     Y     Hearsay (FRE 802)
1666                        [Exhibit Removed]
1667                        [Exhibit Removed]
1668      7/11/2012         Email; Subject: RE: Ukraine Wire.                                      Y     Hearsay (FRE 802)
1669      7/16/2012         Email; Subject: RE: Rick Gates / Ina Kirsch                            Y     Hearsay (FRE 802)
1670                        [Exhibit Removed]
1671      7/16/2012         Email; Subject: european centre for a                                        Hearsay (FRE 802)
                                                                                                   Y
                            modern ukraine q&a
1672      7/17/2012         Email; Subject: Ukraine meeting summary                                Y     Hearsay (FRE 802)
1673      7/27/2012         Email; Subject: RE: do you have a list of all                                Hearsay (FRE 802)
                                                                                                   Y
                            the countries that PG represents?
1674      8/7/2012          Email; Subject: Re: Synopsis of work done                                    Hearsay (FRE 802)
                                                                                                   Y
                            for ECFMU
1675      8/8/2012          Email; Subject: Update                                                 Y     Hearsay (FRE 802)
1676      8/10/2012         Email; Subject: Question                                               Y     Hearsay (FRE 802)
1677      8/24/2012         Email; Subject: ECFMU Elections Strategy                                     Hearsay (FRE 802)
                                                                                                   Y
                            Document
1678      8/27/2012         Email; Subject: Fw: Dem Convention                                     Y     Hearsay (FRE 802)
1679      8/27/2012         Email; Subject: Re: Question                                           Y     Hearsay (FRE 802)
1680      8/28/2012         Email; Subject: E‐MAIL ADDRESS for communication with                        Hearsay (FRE 802); Relevance (FRE 402/403)
                            Gorshenin Institute on                                                 Y
                            topic of elections
1681      8/30/2012         Email; Subject: RE: Democratic National                                      Hearsay (FRE 802)
                                                                                                   Y
                            Convention ‐ Charlotte
1682      8/30/2012         Email; Subject: Re: Boris Kolisnikov                                   Y     Hearsay (FRE 802)
1683      9/6/2012          Email; Subject: RE: Democratic National                                      Hearsay (FRE 802)
                                                                                                   Y
                            Convention ‐ Charlotte
1684      9/10/2012         Email; Subject: FW: BVK Visit                                          Y     Hearsay (FRE 802)
1685      9/11/2012         Agenda; Meeting Agenda ‐ CURRENT                                             Hearsay (FRE 802)
                                                                                                   Y
                            Schedule, DPM Boris Kolisnikov
1686      9/12/2012         Email; Subject: List of critical questions surrounding topic of USA          Hearsay (FRE 802)
                            elections to be developed (DEADLINE: 13 Sept, 5 pm EST)                Y

1687      4/5/2012          Email; Subject: FW: draft contract                                     Y     Hearsay (FRE 802)
1688      9/13/2012         Email; Subject: RE: Reminder: draft program                                  Hearsay (FRE 802)
                                                                                                   Y
                            for Lutkovskaya visit
1689      9/13/2012         Email; Subject: RE: Reminder: draft program                                  Hearsay (FRE 802)
                                                                                                   Y
                            for Lutkovskaya visit
1690      9/14/2012         Calendar; Subject: UKR Call to Discuss
                                                                                                   N
                            S.Res.466
1691      9/14/2012         Email; Subject: RE: Flagging mark‐up next                                    Hearsay (FRE 802)
                                                                                                   Y
                            week
1692      9/14/2012         Email; Subject: FW: Flagging mark‐up next                                    Hearsay (FRE 802)
                                                                                                   Y
                            week
1693      9/17/2012         Calendar; Subject: Ukraine Call                                        N
1694      9/17/2012         Email; Subject: Fw: Meeting                                            Y     Hearsay (FRE 802)
1695      9/17/2012         Email; Subject: FW: URGENT                                             Y     Hearsay (FRE 802)
1696      9/17/2012         Email; Subject: RE: URGENT                                             Y     Hearsay (FRE 802)
1697      9/17/2012         Email; Subject: RE: Flagging mark‐up next                                    Hearsay (FRE 802)
                                                                                                   Y
                            week
1698      9/17/2012         Email; Subject: RE: URGENT                                             Y     Hearsay (FRE 802)
1699      9/18/2012         Email; Subject: List of contracts                                      Y     Hearsay (FRE 802)
1700      9/18/2012         Email; Subject: President ‐ Interview                                  Y     Hearsay (FRE 802)
1701      9/19/2012         Calendar; Subject: S Res Discussion                                    N
1702      9/19/2012         Email; Subject: Re: Action items                                       Y     Hearsay (FRE 802 and FRE 805)
1703      9/19/2012         Email; Subject: RE: URGENT                                             Y     Hearsay (FRE 802 and FRE 805)
1704      9/19/2012         Email; Subject: Ukraine call/follow‐up                                 Y     Hearsay (FRE 802 and FRE 805)
1705      9/20/2012         Email; Subject: RE: Senate schedule                                          Hearsay (FRE 802 and FRE 805)
1706      9/20/2012         Email; Subject: Manchin                                                Y     Hearsay (FRE 802)



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Ex. No.           Date                             Description                            Obj.                       Objection Basis


1707                     [Exhibit Removed]
1708      9/20/2012      Email; Subject: United Coal                                       Y     Hearsay (FRE 802)
1709      9/20/2012      Email; Subject: RE: URGENT                                        Y     Hearsay (FRE 802 and FRE 805)
1710                     [Exhibit Removed]
1711      9/21/2012      Email; Subject: RE: Senate schedule                               Y     Hearsay (FRE 802 and FRE 805)
1712      9/22/2012      Email; Subject: Re: Call Manchin AGAIN re                               Hearsay (FRE 802)
                                                                                           Y
                         UKRAINE
1713      9/22/2012      Email; Subject: Re: Fwd: Europe OpEd                              Y     Hearsay (FRE 802 and FRE 805)
1714      9/22/2012      Email; Subject: Re: Who                                           Y     Hearsay (FRE 802 and FRE 805)
1715      9/22/2012      Email; Subject: Fw: HOTLINE‐S.RES.466:                                  Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                         YULIA TYMOSHENKO
1716                     [Exhibit Removed]
1717      9/22/2012      Email; Subject: Re: Call                                          Y     Hearsay (FRE 802 and FRE 805)
1718      9/22/2012      Email; Subject: Re: Manchin                                       Y     Hearsay (FRE 802 and FRE 805)
1719      9/22/2012      Email; Subject: Re: Europe OpEd                                   Y     Hearsay (FRE 802 and FRE 805)
1720                     [Exhibit Removed]
1721      9/24/2012      Email; Subject: FW: Blinken                                       Y     Hearsay (FRE 802 and FRE 805)
1722      9/24/2012      Email; Subject: Fw: SL Bio                                        Y     Hearsay (FRE 802 and FRE 805)
1723      9/24/2012      Email; Subject: Fwd: Europe OpEd                                  Y     Hearsay (FRE 802 and FRE 805)
1724      9/24/2012      Email; Subject: Re: Items                                         Y     Hearsay (FRE 802 and FRE 805)
1725      9/25/2012      Email; Subject: ECFMU welcomes new team                                 Hearsay (FRE 802)
                                                                                           Y
                         member, Marina Macherenkova
1726      9/27/2012      Email; Subject: Fwd: Meeting Agenda                               Y     Hearsay (FRE 802 and FRE 805)
1727      10/1/2012      Email; Subject: Re: Ukraine follow‐up                                   Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                           Y
1728      10/1/2012      Calendar; Subject: ECFMU/Ukraine Call                             N
1729      10/2/2012      Email; Subject: RE: Rick Gates                                    Y     Hearsay (FRE 802)
1730      10/2/2012      Email; Subject: Re: do we have ukraine
                                                                                           N
                         memo?
1731      10/3/2012      Email; Subject: FW: Ukraine election                                    Hearsay (FRE 802)
                                                                                           Y
                         Strategy
1732      10/3/2012      Email; Subject: Re: Manchin called me today                       Y     Hearsay (FRE 802 and FRE 805)
1733      10/9/2012      Spreadsheet; Podesta Group ‐ Staff Detail ‐                             Relevance (FRE 402/403)
                                                                                           Y
                         September 2012
1734      10/10/2012     Email; Subject: Re: What's dues us from                                 Relevance (FRE 402/403)
                                                                                           Y
                         ukriane
1735      10/10/2012     Email; Subject: For Our Meeting Today                             Y     Hearsay (FRE 802 and FRE 805)
1736      10/11/2012     Email; Subject: Lutkovska and other                               Y     Hearsay (FRE 802)
1737      10/15/2012     Email; Subject: RE: Ukraine                                             Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                           Y
1738      10/15/2012     Email; Subject: FW: Urgent                                        Y     Hearsay (FRE 802 and FRE 805)
1739      10/16/2012     Email; Subject: RE: Congressional Staff                                 Relevance (FRE 402/403)
                                                                                           Y
                         interested in Election Monitoring
1740      10/16/2012     Email; Subject: FW: Pre‐election Outreach                         Y     Hearsay (FRE 802 and FRE 805)
1741      10/17/2012     Report & Letters; Pre‐Election Outreach
                                                                                           N
                         Project
1742      10/17/2012     Report; Pre‐Election Outreach Project                             N
1743      10/17/2012     Report; Pre‐Election Outreach Project                             N
1744      10/18/2012     Email; Subject: RE: Urgent                                        Y     Hearsay (FRE 802 and FRE 805)
1745      10/19/2012     Email; Subject: Thank you                                         Y     Hearsay (FRE 802)
1746      10/22/2012     Spreadsheet; Podesta Projects                                     N
1747      10/23/2012     Email; Subject: ECFMU Newsletter                                  Y     Hearsay (FRE 802)
1748      10/23/2012     Email; Subject: Smith resolution                                  Y     Hearsay (FRE 802)
1749      10/23/2012     Email; Subject: FW: Smith resolution                              Y     Hearsay (FRE 802 and FRE 805)
1750      10/24/2012     Email; Subject: Re: OpEd                                          Y     Hearsay (FRE 802 and FRE 805)
1751      10/30/2012     Email; Subject: Re: US Statement on                                     Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                         elections
1752      10/31/2012     Email; Subject: Berman's Committee Chief of                             Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                         Staff
1753      10/31/2012     Email; Subject: ECFMU: Ukraine Election                                 Hearsay (FRE 802)
                                                                                           Y
                         Newsflash ‐ 31 October 2012
1754                     [Exhibit Removed]
1755      10/31/2012     Email; Subject: ECFMU: Ukrainian
                                                                                           N
                         Parliamentary Election, October 28
1756      11/1/2012      Email; Subject: Re: White House ‐ URGENT                          Y     Hearsay (FRE 802 and FRE 805)
1757      11/1/2012      Email; Subject: Re: MFA Statement                                 N
1758      11/13/2012     Email; Subject: Ukraine press/policy ideas                        Y     Hearsay (FRE 802)
1759      11/26/2012     Email; Subject: Fw: Ukraine                                       Y     Relevance (FRE 402/403)
1760      11/14/2012     Email; Subject: Re: Readout of the Vice President's Call with           Hearsay (FRE 802 and FRE 805)
                         Ukrainian President                                               Y
                         Viktor Yanukovych
1761      11/19/2012     Memo; Subject: Post‐Election Public Affairs Plan and Long‐Term          Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                         Press Strategy
1762      11/20/2012     Email; Subject: Re: Party of Regents leader                             Hearsay (FRE 802)
                                                                                           Y
                         Olexandr Yefremov



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Ex. No.              Date                             Description                             Obj.                       Objection Basis


1763      11/29/2012        Email; Subject: RE: Assessment                                     Y     Hearsay (FRE 802 and FRE 805)
1764      11/29/2012        Email; Subject: RE: Assessment                                     Y     Hearsay (FRE 802)
1765      11/29/2012        Email; Subject: RE: Catching Up                                    Y     Hearsay (FRE 802)
1766      11/29/2012        Email; Subject: RE: Assessment                                     Y     Hearsay (FRE 802 and FRE 805)
1767      12/4/2012         Email; Subject: December                                           Y     Hearsay (FRE 802 and FRE 805)
1768      12/5/2012         Email; Subject: ukraine                                            Y     Hearsay (FRE 802)
1769      12/6/2012         Email; Subject: RE: Skadden Report                                 Y     Hearsay (FRE 802)
1770      12/10/2012        Email; Subject: RE: invitation: Supporting Democracy in Georgie          Hearsay (FRE 802)
                            and Ukraine, Tuesday, December 18, 12:15 p.m.                      Y

1771      12/11/2012        Email; Subject: Skadden report update                              Y     Hearsay (FRE 802 and FRE 805)
1772      12/14/2012        Email; Subject: Fw: Engage Ukraine 2013                            Y     Hearsay (FRE 802)
1773      12/21/2012        Email; Subject: RE: follow up                                      Y     Hearsay (FRE 802 and FRE 805)
1774      12/23/2012        Email; Subject: FW: Google Alert ‐                                       Hearsay (FRE 802)
                                                                                               Y
                            Tymoshenko
1775                        [Exhibit Removed]
1776      1/7/2013          Email; Subject: RE: Steve Pifer of Brookings                             Hearsay (FRE 802)
                                                                                               Y
                            Institute
1777      1/8/2013          Email; Subject: Steve Pifer of Brookings                                 Hearsay (FRE 802)
                                                                                               Y
                            Institute
1778      1/10/2013         Email; Subject: Re: meeting with Ukraine                                 Hearsay (FRE 802 and FRE 805)
                                                                                               Y
                            DCM
1779      1/17/2013         Spreadsheet; Contact Information                                   N
1780      1/31/2013         Email; Subject: RE: DC engagement plan for                               Hearsay (FRE 802)
                                                                                               Y
                            the Honorable Sergei Kluyev
1781      2/1/2013          Email; Subject: Proposed Board Members                                   Hearsay (FRE 802)
                                                                                               Y
                            for the ECFMU
1782      2/6/2013          Pre‐Billing Worksheet For Invoices to be sent                            Hearsay (FRE 802)
                                                                                               Y
                            on February 10, 2013
1783      2/8/2013          Email; Subject: RE: ECFMU Board                                    Y     Hearsay (FRE 802 and FRE 805)
1784      2/18/2013         RE: Deliverables                                                   Y     Hearsay (FRE 802 and FRE 805)
1785      2/18/2013         Email; Subject: Fw: Meeting                                        Y     Hearsay (FRE 802 and FRE 805)
1786      2/18/2013         Email; Subject: Re: Meeting                                        Y     Hearsay (FRE 802 and FRE 805)
1787      2/19/2013         Email; Subject: Ukraine                                            Y     Hearsay (FRE 802 and FRE 805)
1788      3/1/2013          Email; Subject: Re: AK Visit                                       Y     Hearsay (FRE 802 and FRE 805)
1789      3/3/2013          Email; Subject: RE: Pyatt                                          Y     Hearsay (FRE 802 and FRE 805)
1790      3/12/2013         Email; Subject: FW: RP Schedule                                    Y     Hearsay (FRE 802 and FRE 805)
1791      3/7/2013          Email; Subject: RE: Orest and MP S. Vlasenko                       Y     Hearsay (FRE 802 and FRE 805)
1792      3/11/2013         Email; Subject: RE: Kerry Prodi meeting                            Y     Hearsay (FRE 802)
1793      3/14/2013         Email; Subject: RE: Congressional Ukraine                                Hearsay (FRE 802)
                                                                                               Y
                            Caucus
1794      3/17/2013         Email; Subject: Re: Interviews                                     Y     Hearsay (FRE 802 and FRE 805)
1795      3/18/2013         Email; Subject: RE: Sherman                                        Y     Hearsay (FRE 802 and FRE 805)
1796      3/18/2013         Email; Subject: Please                                             Y     Hearsay (FRE 802)
1797                        [Exhibit Removed]
1798      3/20/2013         Email; Subject: Memo for Gates meeting                             Y     Hearsay (FRE 802)
1799      3/22/2013         Email; Subject: Fw: The Next 90 Days                               Y     Hearsay (FRE 802)
1800      3/25/2013         Memo; Subject: Klyuiev Visit                                       Y     Hearsay (FRE 802)
1801      3/27/2013         Email; Subject: Engage Ukraine Hill meeting                        Y     Hearsay (FRE 802)
1802      3/28/2013         Email; Subject: RE: Outside View: Washington consultants and             Hearsay (FRE 802)
                            opaque                                                             Y
                            Ukrainian government tenders
1803      3/28/2013         Email; Subject: Readout from meeting with                                Hearsay (FRE 802)
                                                                                               Y
                            State Department Official
1804      3/28/2013         Email chain; Subject: FW: Outside View: Washington consultants           Hearsay (FRE 802)
                            and opaque                                                         Y
                            Ukrainian government tenders
1805      4/6/2013          Email; Subject: Fwd: COMPLETELY                                          Hearsay (FRE 802)
                                                                                               Y
                            CONFIDENTIAL on Ukraine
1806      4/8/2013          Email; Subject: Strategy Document                                  Y     Hearsay (FRE 802 and FRE 805)
1807      4/9/2013          Email; Subject: RE: Lutsenko‐pitch‐blogs‐                                Relevance (FRE 402/403)
                                                                                               Y
                            040813
1808      4/9/2013          Email; Subject: Ukraine PR                                         Y     Hearsay (FRE 802)
1809      4/15/2013         Email; Subject: FW: Sergey Klyuiev's CV                            Y     Hearsay (FRE 802)
1810      4/19/2013         Email; Subject: RE: Report                                         Y     Hearsay (FRE 802 and FRE 805)
1811      4/26/2013         Email; Subject: Re: Schedule Update                                Y     Hearsay (FRE 802 and FRE 805)
1812      4/30/2013         Email; Subject: Ukrainian Ambassador                               Y     Hearsay (FRE 802 and FRE 805)
1813      5/1/2013          Email; Subject: RE: Ukrainian Foreign                                    Hearsay (FRE 802)
                                                                                               Y
                            Minister Leonid Kozhara
1814      5/2/2013          Email; Subject: Re: Kozhara                                        Y     Hearsay (FRE 802 and FRE 805)
1815      5/6/2013          Email; Subject: RE: Meeting request on behalf of the Foreign             Hearsay (FRE 802)
                                                                                               Y
                            Minister of Ukraine
1816      5/8/2013          Email; Subject: RE: CSIS                                           Y     Hearsay (FRE 802)
1817      5/8/2013          Email; Subject: Ukraine op‐ed                                      Y     Hearsay (FRE 802)
1818      5/10/2013         Email; Subject: RE: Meeting Summary                                Y     Hearsay (FRE 802)



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1819      5/10/2013         Email; Subject: Ukraine FM                                     Y     Hearsay (FRE 802)
1820                        [Exhibit Removed]
1821      5/11/2013         Email; Subject: Re: Deliverables                               Y     Hearsay (FRE 802 and FRE 805)
1822      5/12/2013         Email; Subject: Fwd: Follow‐up                                 Y     Hearsay (FRE 802 and FRE 805)
1823      5/14/2013         Email; Subject: RE: Ukraine                                    Y     Hearsay (FRE 802)
1824      5/28/2013         Email; Subject: Dr. Gusenbauer visit                           Y     Hearsay (FRE 802)
1825      5/28/2013         Email; Subject: Centre for Modern Ukraine                            Hearsay (FRE 802)
                                                                                           Y
                            outstanding money
1826      5/30/2013         Email; Subject: Lunch w/Fred Turner                            Y     Hearsay (FRE 802)
1827      6/4/2013          Memo; Alfred Gusenbauer, Washington, DC                              Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                            Visit
1828      6/6/2013          Pre‐Billing Worksheet For Invoices to be sent
                                                                                           N
                            on June 10, 2013
1829      6/6/2013          Pre‐Billing Worksheet For Invoices to be sent
                                                                                           N
                            on August 10, 2013
1830      6/12/2013         Email; Subject: RE: Durbin Floor Statement                           Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                            on Tymoschenko
1831      6/18/2013         Email; Subject: Meeting w/Sen. Durbin staff                    Y     Hearsay (FRE 802)
1832      6/19/2013         Email; Subject: Re: Venice Weekend 2013
                                                                                           N
                            Invite List
1833      6/24/2013         Email; Subject: Re: S.R. 165 ‐ Durbin                          Y     Hearsay (FRE 802 and FRE 805)
1834      6/25/2013         Email; Subject: Centre for a Modern Ukraine                    Y     Hearsay (FRE 802 and FRE 805)
1835      6/25/2013         Email; Subject: Re: Manchin                                    Y     Hearsay (FRE 802 and FRE 805)
1836      6/25/2013         Email; Subject: Please Review                                  Y     Hearsay (FRE 802 and FRE 805)
1837      7/8/2013          Email; Subject: RE: Centre for a Modern                              Hearsay (FRE 802)
                                                                                           Y
                            Ukraine
1838      7/11/2013         Email; Subject: RE: Rick Gates                                 Y     Hearsay (FRE 802)
1839      7/11/2013         Email; Subject: RE: Rick Gates request                         Y     Hearsay (FRE 802)
1840      7/25/2013         Email; Subject: Re: Manchin                                    Y     Hearsay (FRE 802 and FRE 805)
1841      8/5/2013          Email; Subject: FW: Ukaine update                              Y     Hearsay (FRE 802)
1842      8/8/2013          Email; Subject: FW: SK Visit                                   Y     Hearsay (FRE 802 and FRE 805)
1843      8/8/2013          Email; Subject: Re: SK Visit                                   Y     Hearsay (FRE 802)
1844                        [Exhibit Removed]
1845                        [Exhibit Removed]
1846      8/27/2013         Email; Subject: RE: Vin Weber                                  Y     Hearsay (FRE 802)
1847                        [Exhibit Removed]
1848      9/4/2013          Email; Subject: Gates                                          Y     Hearsay (FRE 802)
1849      9/4/2013          Email; Subject: Re: Fall Efforts                               Y     Hearsay (FRE 802 and FRE 805)
1850      9/5/2013          Pre‐Billing Worksheet For Invoices to be sent
                                                                                           N
                            on September 10, 2013
1851      9/16/2013         Email; Subject: FW: UN GA media for VFY                        Y     Hearsay (FRE 802 and FRE 805)
1852      9/25/2013         Email; Subject: Re: Ukraine                                    Y     Hearsay (FRE 802)
1853      9/30/2013         Email; Subject: Re: Ukraine Update                             Y     Hearsay (FRE 802)
1854      10/1/2013         Email; Subject: FW: Meeting                                    Y     Hearsay (FRE 802 and FRE 805)
1855      10/7/2013         Email; Subject: FW: Visit Sergey Kluyev                        Y     Hearsay (FRE 802)
1856      10/8/2013         Email; Subject: RE: Eastern Partneship                               Hearsay (FRE 802)
                                                                                           Y
                            Summit resolution
1857      10/9/2013         Email; Subject: RE: Assume you've seen                               Hearsay (FRE 802)
                                                                                           Y
                            these
1858      10/9/2013         Email; Subject: RE: Funding for ECMFU                          Y     Hearsay (FRE 802 and FRE 805)
1859      10/18/2013        Email; Subject: Re: Kalyuzhnyy and Geller                            Hearsay (FRE 802)
                                                                                           Y
                            Visit
1860      10/17/2013        Email; Subject: Re: Message                                    Y     Hearsay (FRE 802 and FRE 805)
1861      10/23/2013        Email; Subject: RE: Ukraine ‐ IMF contacts                     Y     Hearsay (FRE 802)
1862      10/24/2013        Email; Subject: RE: Question                                   Y     Hearsay (FRE 802)
1863      4/25/2013         Email; Subject: RE: Klyuiev/Wall Street                              Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                            Journal
1864                        [Exhibit Removed]
1865      11/1/2013         Email; Subject: FW: Update                                     Y     Hearsay (FRE 802 and FRE 805)
1866      11/11/2013        Pre‐Billing Worksheet For Invoices to be sent
                                                                                           N
                            on November 10, 2013
1867      11/18/2013        Email; Subject: D Res                                          Y     Hearsay (FRE 802 and FRE 805)
1868      11/19/2013        Email; Subject: Proposed Kluyuiev Visit                        Y     Hearsay (FRE 802)
1869      11/19/2013        Email; Subject: Memo                                           Y     Hearsay (FRE 802 and FRE 805)
1870      11/23/2013        Email; Subject: Re: Readout of the Vice                              Hearsay (FRE 802 and FRE 805)
                            President's Call with Ukrainian President Viktor Yanukovych    Y

1871      12/5/2013         Pre‐Billing Worksheet For Invoices to be sent
                                                                                           N
                            on December 10, 2013
1872      12/6/2013         Email; Subject: Fw: Yanukovych sold Ukraine                          Hearsay (FRE 802 and FRE 805)
                                                                                           Y
                            out to Putin
1873      12/13/2013        Email; Subject: RE: MBDA Internal Mtg                                Hearsay (FRE 802); Relevance (FRE 402/403)
                                                                                           Y
1874      12/17/2013        Email; Subject: Re: S.Res 319                                  Y     Hearsay (FRE 802 and FRE 805)
1875      12/18/2013        Email; Subject: SFRC business meeting                          Y     Hearsay (FRE 802)



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1876      12/19/2013        Email; Subject: RE: A couple of points                                  Y     Hearsay (FRE 802)
1877      12/24/2013        Email; Subject: Re: Transfer                                            Y     Hearsay (FRE 802 and FRE 805)
1878      1/8/2014          Pre‐Billing Worksheet For Invoices to be sent
                                                                                                    N
                            on January 10, 2014
1879      1/10/2014         Email; Subject: Re: BUSINESS MEETING AND                                      Hearsay (FRE 802)
                            IMPLICATIONS OF THE CRISIS IN UKRAINE                                   Y
                            HEARING
1880      1/17/2014         Client Contact List                                                     N
1881      1/28/2014         Email; Subject: RE: HR 447                                              Y     Hearsay (FRE 802 and FRE 805)
1882      1/29/2014         Email; Subject: Re: Negative attention due to                                 Hearsay (FRE 802 and FRE 805)
                                                                                                    Y
                            our work in Ukraine
1883      2/5/2014          Email; Subject: FW: ECFMU Declaration/Зaявa Європейського                     Hearsay (FRE 802)
                            Центру                                                                  Y
                            Сучасної України
1884      2/6/2014          Pre‐Billing Worksheet For Invoices to be sent
                                                                                                    N
                            on February 10, 2014
1885      2/6/2014          Email; Subject: Re: 'Fuck the EU,' frustrated                                 Hearsay (FRE 802)
                                                                                                    Y
                            Nuland says to Pyatt, in alleged leaked phone call
1886      2/11/2014         Email; Subject: Re: Guest List                                          Y     Hearsay (FRE 802 and FRE 805)
1887      2/11/2014         Email; Subject: Re: Guest List                                          Y     Hearsay (FRE 802 and FRE 805)
1888      2/18/2014         Email; Subject: Fw: Menendez                                            Y     Hearsay (FRE 802 and FRE 805)
1889      2/18/2014         Email; Subject: Menendez                                                Y     Hearsay (FRE 802 and FRE 805)
1890      2/18/2014         Email; Subject: FW: Live Updates                                        Y     Hearsay (FRE 802 and FRE 805)
1891      2/20/2014         Email; Subject: Re: A futile gesture?                                   Y     Hearsay (FRE 802)
1892      2/21/2014         Email; Subject: Fw: Where's the wire from                                     Hearsay (FRE 802 and FRE 805)
                                                                                                    Y
                            last year
1893      2/22/2014         Email; Subject: Re: NYTimes: Ukraine's Leader Flees Palace as                 Hearsay (FRE 802)
                            Protesters Widen                                                        Y
                            Control
1894      2/25/2014         Email; Subject: FW: Podesta in the News                                       Hearsay (FRE 802)
                                                                                                    Y
                            Today
1895      2/25/2014         Email; Subject: Re: Did u get emails today                                    Hearsay (FRE 802)
                                                                                                    Y
                            from ina?
1896      2/26/2014         Email; Subject: Re: Podesta in the News                                       Hearsay (FRE 802 and FRE 805)
                                                                                                    Y
                            Today
1897      3/4/2014          Email; Subject: Re: Any money from bvi ?                                      Hearsay (FRE 802)
                                                                                                    Y
                            Ukraine??
1898      3/6/2014          Press Release; White House Press Release re
                                                                                                    N
                            Executive Order
1899      3/6/2014          Email; Subject: Re: Executive Order and Message to the Congress               Hearsay (FRE 802 and FRE 805)
                            ‐‐ Blocking Property of Certain Persons Contributing to
                                                                                                    Y
                            the Situation in Ukraine

1900      3/13/2014         Email; Subject: Fw: Received Ukraine Wire                                     Hearsay (FRE 802)
                                                                                                    Y
                            today.
1901                        [Exhibit Removed]
1902      3/25/2014         Email; Subject: Re: Received Ukraine Wire                                     Hearsay (FRE 802)
                                                                                                    Y
                            today.
1903      3/25/2014         Email; Subject: Re: Received Ukraine Wire                                     Hearsay (FRE 802)
                                                                                                    Y
                            today.
1904      3/26/2014         Email; Subject: Fw: Ukraine & SGR Text                                  Y     Hearsay (FRE 802)
1905      3/30/2014         Email; Subject: Re: Received Ukraine Wire                                     Hearsay (FRE 802 and FRE 805)
                                                                                                    Y
                            today.
1906      4/15/2014         Email; Subject: draft Ukraine lobbying report                           Y     Hearsay (FRE 802)
1907      4/21/2014         Email; Subject: FW: Tymo                                                Y     Hearsay (FRE 802 and FRE 805)
1908      5/5/2014          Email; Subject: Fw: can you get someone to pull our loBbying                  Hearsay (FRE 802)
                            rankings in 2003 to 2013 and top ten clients for each of these years    Y

1909      5/7/2014          Email; Subject: RE: QFRs for the Ukrain HFAC                                  Hearsay (FRE 802)
                                                                                                    Y
                            hearing
1910      5/7/2014          Email; Subject: FW: Trident                                             Y     Hearsay (FRE 802 and FRE 805)
1911      5/7/2014          Email; Subject: FW: Monitoring Groups                                   Y     Hearsay (FRE 802 and FRE 805)
1912      5/7/2014          Email; Subject: Fw: Message to the Congress                             N
                            ‐‐ With respect to Russia's status under the Generalized System of
                            Preferences
1913      5/10/2014         Email; Subject: Fw: Tridentds                                           Y     Hearsay (FRE 802 and FRE 805)
1914      6/26/2012         Email; Subject: RE: woodrow wilson center                                     Hearsay (FRE 802)
                                                                                                    Y
                            contact
1915      8/16/2016         Email; Subject: Re: Questions                                           Y     Hearsay (FRE 802 and FRE 805)
1916      2/26/2012         Email; Subject: Fwd: Podesta Group Proposal                             Y     Hearsay (FRE 802 and FRE 805)
1917      9/19/2012         Email; Subject: RE: Ukraine resolution                                  Y     Hearsay (FRE 802)
1918      2012‐2014         Schedule & Calendar; Centre for a Modern                                      Hearsay (FRE 802); Authenticity
                                                                                                    Y
                            Ukraine Meetings and Calls
1919      Undated           Client List                                                             Y     Authenticity
1920                        [Exhibit Removed]



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Ex. No.              Date                             Description                             Obj.                       Objection Basis


1921                        [Exhibit Removed]
1922                        [Exhibit Removed]
1923                        [Exhibit Removed]
1924                        [Exhibit Removed]
1925                        [Exhibit Removed]
1926                        [Exhibit Removed]
1927                        [Exhibit Removed]
1928                        [Exhibit Removed]
1929                        [Exhibit Removed]
1930                        [Exhibit Removed]
1931                        [Exhibit Removed]
1932                        [Exhibit Removed]
1933                        [Exhibit Removed]
1934                        [Exhibit Removed]
1935      3/6/2013          Email; Subject: Re: Prodi Visit                                    Y     Hearsay (FRE 802 and FRE 805)
1936      12/15/2012        Email; Subject: Re: US State Dept ‐ Press                                Hearsay (FRE 802 and FRE 805)
                                                                                               Y
                            Briefing
1937      11/19/2013        Email; Subject: Fwd: DURBIN RESOLUTION CALLING FOR                 N
                            THE RELEASE OF FORMER UKRAINE PRIME MINISTER
                            YULIA
                            TYMOSHENKO PASSES US SENATE
1938      11/19/2013        Email; Subject: Memo                                               Y     Hearsay (FRE 802 and FRE 805)
1939      4/25/2013         Email; Subject: Update                                             Y     Hearsay (FRE 802 and FRE 805)
1940      2/25/2014         Email; Subject: Fwd: Contracts                                     Y     Hearsay (FRE 802)
1941      7/5/2012          Email; Subject: RE: Interview request (for Leonid Kozhara) from          Hearsay (FRE 802)
                            Newsweek/Daily Beast                                               Y
                            ‐ REQUEST for background info
1942      10/29/2012        Email; Subject: FW: 10/29 Contact Reports                                Hearsay (FRE 802)
                                                                                               Y
                            (1 of 2)
1943      10/29/2012        Email; Subject: FW: 10/29 Contact Reports                                Hearsay (FRE 802)
                                                                                               Y
                            (2 of 2)
1944      7/6/2012          Email; Subject: RE: Internal Q & A                                 Y     Hearsay (FRE 802 and FRE 805)
1945      2/6/2014          Calendar; Subject: ECFMU Meeting with
                                                                                               Y
                            Congressman Rohrbacher                                                   Hearsay (FRE 802)
1946      2/28/2013         Email; Subject: RE: Meetings                                       Y     Hearsay (FRE 802 and FRE 805)
1947      4/5/2013          Email; Subject: Re: EU Updates                                     Y     Hearsay (FRE 802)
1948      5/22/2011‐        Calendar of Eckart Sager
                                                                                               Y
          11/21/2015                                                                                 Hearsay (FRE 802)
1949      11/13/2012        Email; Subject: Strategy Document                                  Y     Hearsay (FRE 802)
1950      11/16/2011        Email; Subject: Details                                            Y     Relevance (FRE 402 and 403)
1951      1/3/2012          Memo; Subject: Phase Two of Our Strategic Communications           N
                            Work, Action Plan for January to December 2012

1952      5/13/2012         Email; Subject: RE: Ukraine's FM in DC                             N
1953      5/16/2012         Email; Subject: Meeting                                            Y     Relevance (FRE 402 and 403)
1954      5/18/2012         Email; Subject: Re: Meeting                                        N
1955      5/19/2012         Email; Subject: Re: Meetings Monday in                             N
                            Washington
1956      5/29/2012         Email; Subject: Re: Call on Wellmann etc                           Y     Relevance (FRE 402 and 403)
1957      10/18/2012        Email; Subject: FW: Draft news story for                           N
                            dissemination tomorrow (if you agree)
1958      10/23/2012        Memo; Subject: Berlin Conference                                         Relevance (FRE 402 and 403)
                                                                                               Y
                            Deliverables
1959      11/30/2012        Email; Subject: Q & A material and the                             N
                            Briefing Process
1960      1/29/2013         Email; Subject: my yahoo not working but                           N
                            here is agenda for PJM
1961      6/21/2007         Email; Subject: RE: Ukraine Documents &
                                                                                               N
                            Needs
1962      4/18/2012         Executed engagement agreement/contract between Mercury and
                                                                                               N
                            ECFMU
1963      4/18/2012         Executed engagement agreement/contract between Podesta and
                                                                                               N
                            ECFMU
1964      8/10/2012         Email; Subject: Question                                           Y     Hearsay (FRE 802 and FRE 805)
1965      2014              Invoices; FTI to Davis Manafort & Prosecutor
                                                                                               N
                            general Ukraine
1966      2012              FTI Wires and Accounting Records                                   N
1967      2012‐2014         Invoices; Podesta Group to Rick Gates,
                                                                                               N
                            Centre for a Modern Ukraine
1968      2012‐2014         Podesta Group Accounting and Wire Records                          N
1969      6/6/2012          Email; Subject: Ukraine update                                     Y     Hearsay (FRE 802)
1970      6/15/2012         Email; Subject: Strategy doc for (P)Rick Gates                     Y     Hearsay (FRE 802)
1971      7/12/2012         Email; Subject: Re: Any news re Rob Mack?                          Y     Hearsay (FRE 802/805)
1972      9/26/2012         Email; Subject: Re: Point 5                                        Y     Hearsay (FRE 802/805)
1973      9/28/2012         Email; Subject: Re: Greg                                           N



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1974      11/8/2012         Email; Subject: RE: Confidential: Ukraine Assistance
                                                                                                  Y
                                                                                                        Hearsay (FRE 802)
1975      2012-2014         Lobbying Disclosure Act Filings; Mercury                              N
1976      2012-2014         Lobbying Disclosure Act Filings; Podesta Group                        N
2000      3/23/2011         Email; Subject: Your travel to Kyiv                                   Y     Hearsay (FRE 802/805)
2001      2/20/2012         Letter; Re: Preliminary Engagement                                    Y     Hearsay (FRE 802/805)
2002      2/28/2012         Email; Subject: FW: Anything new?                                     Y     Hearsay (FRE 802/805)
2003      2/28/2012         Email; Subject: FW: Anything new?                                     Y     Hearsay (FRE 802/805)
2004      3/6/2012          Email; Subject: Re: Retainer letter & Next                                  Hearsay (FRE 802/805)
                                                                                                  Y
                            Steps
2005      3/22/2012         Email; Subject: Manafort meeting tomorrow                                   Hearsay (FRE 802/805)
                                                                                                  Y
                            will be in the boardroom
2006      3/29/2012         Email; Subject: RE: Daily New Client 3/29/12‐ Ministry of Justice,          Hearsay (FRE 802/805)
                                                                                                  Y
                            Government of Ukraine
2007      3/29/2012         Email; Subject: FW: Re:                                               Y     Hearsay (FRE 802/805)
2008      3/29/2012         Email; Subject: RE: Memo to Manafort about                                  Hearsay (FRE 802/805)
                                                                                                  Y
                            trip to Ukraine
2009      3/30/2012         Email; Subject: FW: Memo to Paul Manafort                                   Hearsay (FRE 802/805)
                                                                                                  Y
                            re Ukraine Project
2010      4/2/2012          Email; Subject: FW: Tymo case docs                                    Y     Hearsay (FRE 802/805)
2011      4/3/2012          Email; Subject: RE: Report of the temporary investigative                   Hearsay (FRE 802/805)
                            commission chaired by Inna                                            Y
                            Bogoslovaskaya
2012      4/5/2012          Memo; Subject: Projects and Plans                                     N
2013      4/11/2012         Email; Subject: FW: Tomorrow‐‐Friday 4/6                              Y     Hearsay (FRE 802/805)
2014      4/11/2012         Email; Subject: RE: Kuzmin on New charges                                   Hearsay (FRE 802/805)
                                                                                                  Y
                            against Tymo
2015      4/11/2012         Email; Subject: Re:                                                   Y     Hearsay (FRE 802/805)
2016      4/12/2012         Email; Subject: Re: the wire re Ukraine                               Y     Hearsay (FRE 802/805)
2017      4/16/2012         Email; Subject: Re: re Ukraine wire                                   Y     Hearsay (FRE 802/805)
2018      4/17/2012         Email; Subject: Re: FARA issues                                       Y     Hearsay (FRE 802/805)
2019      4/17/2012         Email; Subject: Re: FARA issues                                       Y     Hearsay (FRE 802/805)
2020      4/18/2012         Mercury/Clark Weinstock Lobbying                                            Hearsay (FRE 802/805)
                                                                                                  Y
                            Registration
2021      4/25/2012         Email; Subject: Re: conference call today                                   Hearsay (FRE 802/805)
                                                                                                  Y
                            with Greg Craig
2022      4/30/2012         Email; Subject: FW: PR Firms                                          Y     Hearsay (FRE 802/805)
2023      4/30/2012         Email; Subject: FW: Ukraine ‐ Application of the Foreign Agents             Hearsay (FRE 802/805)
                            Registration Act of 1938 ("FARA") PROPER ATTACHMENTS                  Y

2024      5/1/2012          Email; Subject: FW: Ukraine and                                             Hearsay (FRE 802/805)
                                                                                                  Y
                            reputation…
2025      5/3/2012          Email; Subject: Meeting Notes: 5/2/12                                 Y     Hearsay (FRE 802/805)
2026      5/3/2012          Email; Subject: Investigation of Tymo                                       Hearsay (FRE 802/805)
                                                                                                  Y
                            allegations of "beating"
2027      5/7/2012          Email; Subject: RE: Tymo                                              Y     Hearsay (FRE 802/805)
2028      5/7/2012          Email; Subject: RE: PR Update                                         Y     Hearsay (FRE 802/805)
2029      5/7/2012          Email; Subject: RE: Ukrainian Law Experts                             Y     Hearsay (FRE 802/805)
2030      5/8/2012          Email; Subject: RE: Documents                                         Y     Hearsay (FRE 802/805)
2031      5/10/2012         Email; Subject: FW: FTI                                               Y     Hearsay (FRE 802/805)
2032      5/10/2012         Email; Subject: FW: Re:                                               Y     Hearsay (FRE 802/805)
2033      5/16/2012         Memo; Interim Report                                                  N
2034      5/18/2012         Email; Subject: Letter re: LDA vs. FARA filing                        Y     Hearsay (FRE 802/805)
2035                        [Exhibit Removed]
2036      5/22/2012         Email; Subject: RE: Ukraine Heads Up                                  Y     Hearsay (FRE 802/805)
2037      5/22/2012         Email; Subject: RE:                                                   Y     Hearsay (FRE 802/805)
2038      5/23/2012         Email; Subject: Points                                                Y     Hearsay (FRE 802/805)
2039      5/23/2012         Email; Subject: RE: Press statements                                  Y     Hearsay (FRE 802/805)
2040      5/23/2012         Email; Subject: RE: Press statements                                  Y     Hearsay (FRE 802/805)
2041      5/24/2012         Email; Subject: RE: Letter Agreement                                  Y     Hearsay (FRE 802/805)
2042      5/24/2012         Email; Subject: Press Release and EL                                  Y     Hearsay (FRE 802/805)
2043      5/24/2012         Email; Subject: Re: Press Release and EL                              Y     Hearsay (FRE 802/805)
2044      5/24/2012         Email; Subject: FW: Statement                                         Y     Hearsay (FRE 802/805)
2045      5/24/2012         Email; Subject: RE: FTI are checking out and going home ‐ their             Hearsay (FRE 802/805)
                            bosses are pulling them                                               Y
                            out
2046      5/26/2012         Email; Subject: Tymoshenko case                                       Y     Hearsay (FRE 802/805)
2047      5/29/2012         Email; Subject: Re: thanks for your help                              Y     Hearsay (FRE 802/805)
2048      5/30/2012         Email; Subject: Fw: thanks for your help                              Y     Hearsay (FRE 802/805)
2049      6/5/2012          Email; Subject: RE: Are you seeing Andrea                                   Hearsay (FRE 802/805)
                                                                                                  Y
                            Manafort today?
2050      6/5/2012          Email; Subject: Manafort Update                                       Y     Hearsay (FRE 802/805)
2051      6/6/2012          Calendar; Subject: 3:45 pm ‐ Call with                                      Hearsay (FRE 802/805)
                                                                                                  Y
                            Senator Durbin re Ukraine
2052      6/6/2012          Email; Subject: getting together                                      Y     Hearsay (FRE 802/805)



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Ex. No.              Date                             Description                    Obj.                    Objection Basis


2053      6/6/2012          Email; Subject: Senator Durbin is going to                      Hearsay (FRE 802/805)
                                                                                      Y
                            call you at 3:45 to talk about Ukraine
2054      6/22/2012         Email; Subject: again thank you                           Y     Hearsay (FRE 802/805)
2055      5/23/2012         Email; Subject: Fw: Statement                             Y     Hearsay (FRE 802/805)
2056      6/25/2012         Email; Subject: Vlasenko                                  Y     Hearsay (FRE 802/805)
2057                        [Exhibit Removed]
2058      6/27/2012         Email; Subject: RE: Website                               Y     Hearsay (FRE 802/805)
2059      7/2/2012          List of Contacts; Skadden Report ‐ July 2,                      Hearsay (FRE 802/805)
                                                                                      Y
                            2012
2060      7/2/2012          Email; Subject: Tymoschenko                               Y     Hearsay (FRE 802/805)
2061      7/9/2012          Email; Subject: FTI                                       Y     Hearsay (FRE 802/805)
2062      7/18/2012         Email; Subject: Fw: Fwd: Project Veritas ‐                      Hearsay (FRE 802/805)
                                                                                      Y
                            Communications Strategy
2063                        [Exhibit Removed]
2064      7/26/2012         Email; Subject: Re: your plan in Kiev                     Y     Hearsay (FRE 802/805)
2065      7/27/2012         Memo; Subject: SA Report ‐ Media Plan                     N
2066      7/28/2012         Email; Subject: Media Plan                                Y     Hearsay (FRE 802/805)
2067      8/3/2012          Email; Subject: Manafort is seeing BG on                        Hearsay (FRE 802/805)
                                                                                      Y
                            Wednesday
2068      8/7/2012          Email; Subject: Re: Tymo report ‐ action                        Hearsay (FRE 802/805)
                                                                                      Y
                            points and questions
2069      8/9/2012          Email; Subject: RE: Kyiv Post Editorial:                        Hearsay (FRE 802/805)
                                                                                      Y
                            Skadden Stink
2070      8/15/2012         Email; Subject: RE: Confidential Partial                        Hearsay (FRE 802/805)
                                                                                      Y
                            Translation Return (444‐530A)
2071      8/16/2012         Email; Subject: RE: Meeting at 3 p.m. today               Y     Hearsay (FRE 802/805)
2072                        [Exhibit Removed]
2073      8/24/2012         Email; Subject: RE: Hello Sergiy ‐‐ Two                         Hearsay (FRE 802/805)
                                                                                      Y
                            Important Questions
2074      8/27/2012         Memo; Subject: SA Report ‐ Media Plan                     N
2075      8/28/2012         Email; Subject: FW:                                       Y     Hearsay (FRE 802/805)
2076      8/29/2012         Email; Subject: Tymo memo                                 Y     Hearsay (FRE 802/805)
2077      8/30/2012         Email; Subject: RE: Work Schedule to finalize                   Hearsay (FRE 802/805)
                                                                                      Y
                            report
2078      8/30/2012         Email; Subject: Re: Project 2                             Y     Hearsay (FRE 802/805)
2079      8/30/2012         Email; Subject: Re: Project 2                             Y     Hearsay (FRE 802/805)
2080      9/3/2012          Email; Subject: RE: final version of the                        Hearsay (FRE 802/805)
                                                                                      Y
                            comments
2081      9/3/2012          Email; Subject: Government comments                       Y     Hearsay (FRE 802/805)
2082      9/3/2012          Email; Subject: final version of the                            Hearsay (FRE 802/805)
                                                                                      Y
                            comments
2083      9/4/2012          Email; Subject: FW: URGENT: Actions this                        Hearsay (FRE 802/805)
                                                                                      Y
                            week ‐ Wrapping Up
2084      9/9/2012          Email; Subject: i need some direction                     Y     Hearsay (FRE 802/805)
2085      9/10/2012         Email; Subject: response to last submission               Y     Hearsay (FRE 802/805)
2086      9/12/2012         Email; Subject: RE: DELIVERY                              Y     Hearsay (FRE 802/805)
2087      9/17/2012         Email; Subject: RE: Comments from OPG                     Y     Hearsay (FRE 802/805)
2088      9/17/2012         Email; Subject: are you around to take a call             Y     Hearsay (FRE 802/805)
2089      9/18/2012         Email; Subject: Re: meeting today                         Y     Hearsay (FRE 802/805)
2090      9/18/2012         Email; Subject: RE: Comments                              Y     Hearsay (FRE 802/805)
2091      9/19/2012         Email; Subject: Call                                      Y     Hearsay (FRE 802/805)
2092      9/19/2012         Email; Subject: FW: CONCERN                               Y     Hearsay (FRE 802/805)
2093      9/20/2012         Email; Subject: Re: Ukraine Yet Again                     Y     Hearsay (FRE 802/805)
2094      9/21/2012         Email; Subject: FW: meeting on Sunday                     Y     Hearsay (FRE 802/805)
2095      9/23/2012         Email; Subject: Re: Meeting tomorrow                            Hearsay (FRE 802/805)
                                                                                      Y
                            morning
2096      9/24/2012         Email; Subject: RE: Post trial detention.                 Y     Hearsay (FRE 802/805)
2097      9/25/2012         Email; Subject: FW: Draft messaging                       Y     Hearsay (FRE 802/805)
2098      10/2/2012         Email; Subject: Re: Ukraine                               Y     Hearsay (FRE 802/805)
2099      10/2/2012         Email; Subject: FW:                                       Y     Hearsay (FRE 802/805)
2100      10/2/2012         Email; Subject: another set of comments                   Y     Hearsay (FRE 802/805)
2101      10/3/2012         Email; Subject: Re: Call number for                             Hearsay (FRE 802/805)
                                                                                      Y
                            [Redacted] roundtable at 3pm: 202‐296‐ 9312
2102      10/3/2012         Email; Subject: Fw: Ukraine                               Y     Hearsay (FRE 802/805)
2103      10/18/2012        Email; Subject: FW: The Report                            N
2104                        [Exhibit Removed]
2105      11/12/2012        Email; Subject: RE: Delivery                              Y     Hearsay (FRE 802/805)
2106      11/28/2012        Email; Subject: Greg's memo                               Y     Hearsay (FRE 802/805)
2107      12/6/2012         Email; Subject: FW: Updated Docs                          Y     Hearsay (FRE 802/805)
2108      12/11/2012        Email; Subject: Re: Ukraine                               Y     Hearsay (FRE 802/805)
2109      12/11/2012        Email; Subject: Re: Ukraine                               Y     Hearsay (FRE 802/805)
2110      12/11/2012        Email; Subject: FW: Greg Craig                            Y     Hearsay (FRE 802/805)
2111      12/11/2012        Email; Subject: RE: Sanger conversation                   Y     Hearsay (FRE 802/805)
2112      12/11/2012        Email; Subject: Re: Report on the                               Hearsay (FRE 802/805)
                                                                                      Y
                            Tymoshenko case



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Ex. No.           Date                               Description                         Obj.                     Objection Basis


2113      12/11/2012     Email; Subject: Re: Report on the                                      Hearsay (FRE 802/805)
                                                                                          Y
                         Tymoshenko case
2114      12/11/2012     Email; Subject: RE: Meeting Aleksander                                 Hearsay (FRE 802/805)
                                                                                          Y
                         Kwasniewski
2115      12/12/2012     Email; Subject: Re: AK ‐ Talking Points                          Y     Hearsay (FRE 802/805)
2116      12/12/2012     Email; Subject: Re: Report on the                                      Hearsay (FRE 802/805)
                                                                                          Y
                         Tymoshenko case
2117      12/12/2012     Email; Subject: hello and questions, from                              Hearsay (FRE 802/805)
                                                                                          Y
                         NYT Moscow
2118      12/12/2012     Email; Subject: Re: Report on the                                      Hearsay (FRE 802/805)
                                                                                          Y
                         Tymoshenko case
2119      12/12/2012     Email; Subject: RE: Ukraine                                      Y     Hearsay (FRE 802/805)
2120      12/13/2012     Email; Subject: FW: On Behalf of Greg Craig ‐                          Hearsay (FRE 802/805)
                                                                                          Y
                         The Tymoshenko Case
2121      12/13/2012     Email; Subject: On Behalf of Greg Craig ‐ The                          Hearsay (FRE 802/805)
                                                                                          Y
                         Tymoshenko Case
2122      12/13/2012     Email; Subject: RE: On Behalf of Greg Craig ‐                          Hearsay (FRE 802/805)
                                                                                          Y
                         The Tymoshenko Case
2123      1/8/2013       Email; Subject: Re: Meeting Tomorrow                             Y     Hearsay (FRE 802/805)
2124      12/12/2012     News Article; Failings Found in Trial of Ukrainian Ex‐Premier          Relevance - FRE 402/403; Hearsay - FRE 802
                                                                                          Y
2125      12/11/2012     Email; Subject: RE: Electronic delivery                          Y     Hearsay (FRE 802/805)
2126      2012‐2017      Trust Detail Inquiry; Client: Ministry of
                                                                                          N
                         Justice, Gov of Ukraine; Wire Records
2127      2012‐2013      Skadden Invoices                                                 N
2128      4/12/2012      Email; Subject: Re: Urgent Problem                               Y     Hearsay (FRE 802/805)
503‐M                    Metadata
505‐M
517‐M
539‐M
594‐M
602‐M
604‐M
606‐M
613‐M
616‐M
617‐M
690‐M
                                                                                          N
691‐M
692‐M
694‐M
696‐M
697‐M
705‐M
706‐M
708‐M
710‐M
712‐M
714‐M

569‐T                    Translations                                                           Relevance - FRE 402/403; Hearsay - FRE 802
570‐T
592‐T
610‐T
716‐T
                                                                                          Y
719‐T




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